              Case 19-11264-jkf                     Doc 1               Filed 03/01/19 Entered 03/01/19 12:19:12                                  Desc Main
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         Fill in this information to identify your case:

         United States Bankruptcy Coun for the:

                               EASTERN Distn‘ct of PENNSYLVANIA                        -                   3




         Case number   (If known):                                            apter you are ﬁling under:
                                                                            @EChapter 7
                                                                            D   Chapter 11
                                                                            D   Chapter 12                                                                       ‘      ‘

E
                                                                            FCTEChapter 13                 i
                                                                                                                                             D   Check lfthls IS an
                                                                                                                                                                                .




3
                                                                                                                                                 amended ﬁling


    Ofﬁcial Form 101
    Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                               12/17

    The bankruptcy forms use you and Debtor 1 to refer to a debtor ﬁling alone. A married couple may ﬁle a bankruptcy case together-called a
joint case—and       in joint cases, these forms use you to ask for Information from both debtors. For example, if a form asks, “Do you own a car,"
    the answer would be yes if either debtor owns a car. When Information Is needed about the spouses separately, the form uses Debtor 1 and
    Debtor 2 to dlstinguish between them. In Joint cases, one of the spouses must report Information as Debtor1 and the other as Debtor 2. The
    same person must be Debtor 1 in all of the forms.
    Be as complete and accurate as possible. If two married people are ﬁling together, both are equally responslble for supplying correct
    Information. If more space is needed, attach a separate sheet to thls form. 0n the top of any additional pages, write your name and case number
    (if known). Answer every question.


m                  Identify Yourself
                                               About Debtor 1:                                                 About Debtor 2 (Spouse Only in                    a    Joint Case):
    1.     Your full name
           Write the name that is on your      Randy
           govemment-issued picture
                                               Firs‘ name                                                      Firsi name
           identiﬁcation (for example,
           your driver‘s license or
           passport).                          Middle name                                                     Middle name
                                               Lucas
           Bring your picture
           identiﬁcation to your meeting       Las‘ name                                                       Lasi name
           with the trustee.
                                               Sufﬁx (Sn. Jr.,   11.   m)                                      Sufﬁx (Sn. Jr.,   II. III)                                                                            I:




    2.     All other names you
           have used in the last           8   First name                                                      Fm name
           years
           Indude your married       0,-       Middle name                             _
                                                                                                               Middle name
           maiden names.
                                               Last name                                                       Last name                                                                                         i




                                                                                                                                                  <5;
                                                                                                                                                  .                  8:?)
                                               First name                                                      First name                          i;   A
                                                                                                                                                                      ,1;                                        :




                                                                                                                                                      viA“1           “lo
                                                                                                                                                                       -
                                                                                                                                                                         5
                                                                                                                                                                                          “3'1
                                                                                                                                                                                            a   A
                                                                                                                                                                                                             .
                                               Middle name                                                     Middle name                                                                “avg
                                                                                                                                                       :7:             3:3
                                                                                                                                                        '2‘:-               \              a”
                                               Las‘ name                                                       Las{ name                                 v‘i            a‘“                ‘
                                                                                                                                                            t                                271‘}
                                                                                                                                                            ”U                             E    E
                                                                                                                                                                                                     ‘u
                                                                                                                                                                                                     '
                                                                                                                                                                .A          2?),            9w           '
                                                                                                                                                                c“?         13"
                                                                                                                                                                                W.          E   w,
                                                                                                                                                                                     r"
    a.    Only the last 4 digits of
          your Social Security                 XXX      —   XX   "     M -—            3——   ——                XXX      _   XX   _    —-——   —— ——Eﬁ—m
                                                                                                                                                  L4
                                                                                                                                                                 a)             ‘—




                                                                                                                                                                                                                 j


          number or federal                    OR                                                              OR
          Individual Taxpayer
          Identiﬁcation number
          (ITIN)
                                               9   XX   “   XX     ‘—           _ __ __                        9   XX   "   XX    "__._      __ __ __
    Ofﬁcial Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                  page           1
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Deb‘or   1     Randy                                Lucas                                              Case number      (ifknown)
              First Name   Middie Name                  Last Name




                                         About Debtor          1:                                           About Debtor            2   (Spouse Only In a Joint Case):


4.   Any business names
     and Employer                        E2!    1   have not used any business names or EINs.               [1     l   have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in
     the last 8 years                    Business name                                                      Business name

     Include trade names and
     doing business as names             Business name                                                      Business name




                                         Em                                                                 m _'
                                         EN”—               _—"——””__                                       EN”.              “—_—”“~"‘_

5.   Where you live                                                                                         If Debtor 2 lives at a different address:


                                          1344 S 52nd St
                                         Number             Street                                          Number              Street




                                         Philadelphia                              PA        19143
                                         City                                      State    ZIP Code        City                                         State      ZIP Code


                                         Phiiadclphia
                                         County                                                             County


                                         If your mailing address is different from the one                  If Debtor 2’s mailing address is different from
                                         above, fill it in here. Note that the court will send              yours, fill it in here. Note that the court will send
                                         any notices to you at this mailing address.                        any notices to this mailing address.



                                         Number             Street                                          Number              Street



                                         P.0‘ Box                                                           PO. Box


                                         City                                     State     ZIP Code        City                                        S‘ate    ZIP Code




6.   Why you are choosing                Check one:                                                         Check one:
     this district to file for
     bankruptcy                          {2 Over the last       180 days before ﬁling this petition,       £21     Over the last 180 days before ﬁling this petition,
                                                Ihave lived in this district longer than in any                    l have lived in this district longer than in any
                                                other district.                                                    other district.

                                         D      Ihave another reason. Explain.                              D      Ihave another reason. Explain.
                                                (See 28 U.S.C. § 1408.)                                            (See 28 U.S.C.§14OB‘)




Ofﬁcial Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                           page 2
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Debtor   1         Randy                                   Lucas                                                  Case number   {vfknowm
                   Ftrst Name   Middle Name                    Last Name




              Tell the Court About Your Bankruptcy Case

7.    The chapter of the                      Check one‘ (For a brief description of each, see Notice Required by 11 U, S. C. § 342(b) for Individuals Filing
      Bankruptcy Code you                     for Bankruptcy (Form 2010)). Also. go to the top of page 1 and check the appropriate box.
      are choosing to file
      under                                   m Chapter 7
                                                   :




                                              D        Chapter         11

                                              Cl Chapter 12

                                              QEChapter 13


a.    How you will pay the fee                ml will pay the entire fee when lfile my petition. Please check with the clerk's ofﬁce in your
                                                       local court for more details about how you may pay. Typically, if you are paying the fee
                                                       yourself, you may pay with cash, cashier‘s check, or money order. If your attorney is
                                                       submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                       with a pre-printed address.

                                              C]       Ineed to pay the fee in installments. If you choose this option, sign and attach the
                                                       Application for Individuals to Pay The Filing Fee in lnstallments (Ofﬁcial Form 103A).

                                              DI request that my fee be waived (You may request this option only if you are ﬁling for Chapter 7.
                                                       By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                       less than 150% of the ofﬁcial poverty line that applies to your family size and you are unable to
                                                       pay the fee in installments). If you choose this option, you must ﬁll out the Application to Have the
                                                       Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.


9.
      :av: you filedtLor
       an ruptcy wi int h e
      last 3 years?
                                              WNO
                                              ﬁYes.E
                                                                   y



                                                              Dlstnct


                                                              District
                                                                       _


                                                                                                         When


                                                                                                         When
                                                                                                                m
                                                                                                                MM/ DD/YYYY
                                                                                                                                     Case number


                                                                                                                                     Case number


                                                              District                                   When                        Case number
                                                                                                                MM/ DD/YYYY



10.   Are any baquruptcg                      {@530
      cases pen mg or emg
                                _

                                              w               Debtor
      filed by a spouse who is            €DLYES                                                                                     Relationship {0 you
      not ﬁling thlS ca§e WIth                                District                                  When                         Case number. if known
      you, or by a bUSINESS                                                                                     MM I DD IYYYY
      partner, or by an
      affiliate?
                                                              Debtor                                                                 Reiationship to you

                                                              District                                  When                        Case number, if known
                                                                                                                MM / DD/YYYY



11.   Do _you rent your                   {END                Go to ”he 12'
      rGSIdence?
                                          EEYes. Has your landlord obtained                    an eviction judgment against you and do you want to stay in your
                                                              residence?

                                                              Wm. Go to line 12.
                                                              EﬁYes.         Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and ﬁle it with
                                                                       this bankruptcy petition.



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Debtor     1     Randy                              Lucas                                                            Case number    (Ifknown)
                 Flrs‘ Name      Mmdle Name                   Last Name




m
12.
               Report About Any Businesses You Own as a Sole Proprietor

      Are you a sole proprietor               WWI Go to Pan 4.
      of any full- or part-time
      business?                               ﬁYes. Name and location of busineSs
      A sole proprietorship is a
      business you operate as an
                                                          Name of business. if any
      individual, and is not a
      separate legal entity such as
      a corporation. partnership, or
                                                          Number          Sheet
      LLC.
      If you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                              City                                                          State               ZIP Code



                                                          Check the appropriate box to describe your business:



                                                          [UESingle Asset Real Estate (as deﬁned            in 11 U.S.C. § 101(51B))

                                                          [U Stockbroker (as deﬁned in 11           U.S.C. § 101(53A))

                                                          [E]: Commodity Broker (as deﬁned in          11   U.S.C. § 101(6))

                                                          m: None of the above

13.   Are you ﬁling under                     If you are ﬁling under Chapter11, the coun‘ must know whether you are a small business debtor so that it
      Chapter 11 of the                       can set appropriate deadlines If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                     most recent balance sheet, statement of operations. cash-ﬂow statement, and federal income tax return or if
      are you a small business                any of these documents do not exist. follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor?
                                              £2! No.     I   am not ﬁling under Chapter 11.
      For a deﬁnition of small
      business debtor, see                    D    No.    I am ﬁling under Chapter 11, but I am NOT a small business debtor according to the deﬁnition in
      11   U.S.C.§101(51D).                               the Bankruptcy Code.

                                              D    Yes.   Iam ﬁling under Chapter      11 and   I   am a small business debtor according to the deﬁnition in the
                                                          Bankrup‘cy Code.



m
14.
               Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


      Do you own or have any                  El   No
      property that poses or is
      alleged to pose a threat                D    Yes.       What is the hazard?
      of imminent and
      identiﬁable hazard to
      public health or safety?
      Or do you own any
      property that needs                                     If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, ora building
      that needs urgent repairs?
                                                              Where is the property?
                                                                                       Number               Street




                                                                                       City                                                         State   ZIP Code


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Debtor   1       RandV                                Lucas                                                   Case number   (Ilknown)
                Ftrs! Name      Mmdk: Name                Last Name




m
15.
              Explain Your Efforts to Receive a Brieﬁng About Credit Counseling

      Tell the court whether
                                             About Debtor       1:                                                 About Debtor 2 (Spouse Only in        a   Joint Case):
      you have received a
      briefing about credit                  You must check one:                                                    You must check one:
      counseling.
                                             CZ   I received a briefing from an approved credit                    a    I received a briefing from an approved credit
                                                  counseling agency within the 180 days before            I             counseling agency within the 180 days before              I
      The law requires that you                   filed this bankruptcy petition, and I received a                      filed this bankruptcy petition, and I received a
      receive a brieﬁng about credit              certiﬁcate of completion.                                             certificate of completion.
      counseling before you ﬁle for
                                                  Attach a copy of the certiﬁcate and the payment                       Attach a copy of the certiﬁcate and the payment
      bankruptcy. You must
                                                  plan, if any, that you deve|oped with the agency.                     plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                             C]   Ireceived a brieﬁng from an approved credit                      [I   Ireceived a briefing from an approved credit
                                                  counseling agency within the 180 days before I                        counseling agency within the 180 days before I
      eligible to ﬁle.
                                                  ﬂied this bankruptcy petition, but I do not have a                    ﬁled this bankruptcy petition, but I do not have a
                                                  certiﬁcate of completion.                                             certificate of completion.
      If you ﬁle anyway, the court                Wlthin 14 days after you ﬁle this bankruptcy petition,                Within 14 days after you ﬁle this bankruptcy petition,
      can dismiss your case, you
                                                  you MUST ﬁle a copy of the certiﬁcate and payment                     you MUST ﬁle a copy 0f the certiﬁcate and payment
      will lose whatever ﬁling fee
                                                  plan, if any.                                                         plan. if any.
      you paid, and your creditors
      can begin collection activities        D     certify that I asked for credit counseﬁng                       D
                                                  I                                                                     Icertify that! asked for credit counseling
      again.                                      services from an approved agency, but was                             services from an approved agency, but was
                                                  unable to obtain those services during the 7                          unable to obtain those services during the 7
                                                  days afterl made my request, and exigent                              days after! made my request, and exigent
                                                  circumstances merit a 30—day temporary waiver                         circumstances merit a 30-day ‘emporary waiver
                                                  of the requirement.                                                   of the requirement.
                                                  To ask for a 30—day temporary waiver of the                           To ask for a 30-day temporary waiver of the
                                                  requirement, attach a separate sheet explaining                       requirement, attach a separate sheet explaining
                                                  what efforts you made to obtain the brieﬁng, why                      what efforts you made to obtain the brieﬁng, why
                                                  you were unable to obtain it before you ﬁled for                      you Were unable to obtain it before you ﬁled for
                                                  bankruptcy, and what exigent circumstances                            bankruptcy, and what exigent circumstances
                                                  required you to ﬁle this case.                                        required you to ﬁle this case.
                                                  Your case may be dismissed if the court is                            Your case may be dismissed if the court is
                                                  dissatisﬁed with your reasons for not receiving a                     dissatisﬁed with your reasons for not receiving a
                                                  brieﬁng before you ﬁled for_bankruptcy.                               brieﬁng before you ﬁled for bankruptcy.
                                                  lfthe court is satisﬁed with your reasons, you must                   If the court is satisﬁed with your reasons, you must
                                                  still receive a brieﬁng within 30 days after you ﬁle.                 still receive a brieﬁng within 30 days after you ﬁle.
                                                  You must ﬁle a certiﬁcate from the approved                           You must ﬁle a cerﬁﬁcate from the approved
                                                  agency, along with a copy of the payment plan you                     agency, along with a copy of the payment plan you
                                                  developed, if any. If you do not do so, your case                     developed‘ if any. If you do not do so, your case
                                                  may be dismissed.                                                     may be dismissed.
                                                  Any extension of the 30-day deadline is granted                       Any extension of the 30-day deadline is granted
                                                  only for cause and is limited to a maximum of 15                      only for cause and is limited to a maximum of 15
                                                  days.                                                                 days.

                                             CI   Iam not required to receive a briefing about                     C]   1am not required to receive a briefing about
                                                  credit counseling because of:                                         credit counseling because of:

                                                  D    Incapacity.    I have a mental illness or a mental               D    Incapacity.   I have a mental illness or a mental
                                                                      deﬁciency that makes me                                              deﬁciency that makes me
                                                                      incapable of realizing or making                                     incapable of realizing or making
                                                                      rational decisions about ﬁnances.                                    rational decisions about ﬁnances.
                                                  E] Disability.      My physical disability causes me                  E] Disability.     My physical disability causes me
                                                                      to be unable to participate in a                                     to be unable to panicipate in a
                                                                      brieﬁng in person, by phone, or                                      brieﬁng in person, by phone, or
                                                                      through the internal, even aﬁer |                                    through the internet, even after   I


                                                                      reasonably tried to do 50.                                           reasonably tried to do so.
                                                  [1 Active duty.     Iam currently on active military                  E] Active duty.    1am currently on aciive military
                                                                      duty in a military combat zone.                                      duty in a military combat zone.
                                                  If you behave you are not required to receive a                       If you believe you are not required to receive a
                                                  brieﬁng about credit counseling, you must ﬁle a                       brieﬁng about credit counseling, you must ﬁle a
                                                  motion for waiver of credit counseling with the court.                motion for waiver of credit counseiing with the court.




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Debtor   1      Randy                                    Lucas                                                Case number   («fknowm
                First Name    Mldk‘ﬂé Name                       Last Name




“Answer These Questions for Reporting Purposes
                                                 16a. Are your debts primarily consumer debts? Consumer debts are deﬁned in 11 U.S.C. § 101(8)
 16.   What kind of debts do                          as “incurred by an individual primarily for a personal, family, or household purpose.”
       you have?
                                                        END.         Go to line 16b.
                                                        {aid/es. Go to line         17.

                                                 16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                         money for a business or investment or through the operation of the business or investment.
                                                        {a No. Go to line 16c.
                                                        {ET Yes. Go to line 17.

                                                 16c. State the type of debts you owe that are not consumer debts or business debts.



 17.   Are you filing under
                                             {EV No. lam not ﬁling under Chapter 7. Go to line 18.
       Chapter 7?
       Do you estimate that after            m Yes. administrative
                                                     am ﬁling under Chapter 7. Do you estimate that aﬂer any exempt property is excluded and
                                                             I

                                                                   expenses are paid that funds will be available to distribute to unsecured creditors?
       any exempt property is
       excluded and                                         {@No
       administrative expenses
       are paid that funds will be                           D      Yes
       available for distribution
       to unsecured creditors?
 18.   How many creditors do                 {@149                                                                                     [EJéZSDm-sonoo
       you estimate that you                           $50-99                                                                          {350,001-100,000
       0W9?                                            400-199                            gﬂprm-zaooo                                  {DEMore than 100,000
                                                                                            "                                            "
                                                       $200-$199

 19.   How much do you                       mw-wsomo                                     {E37$1,000,001-$10 miiﬁon                    D   $500,000,001-51 bimon
       estimate your assets to               W$50,001-$100,000                            §W$1o,ooo,oo1-$so million                    [I] $1,ooo,ooo,oo1-$1o billion
       be worth?                             ﬂ$100,001-$500,000                            ﬁswnomom-MOO           million              El $1o,ooo.ooo,oo1-$5o billion
                                             @3500001-391 million                         {Uf$1oo.ooo,oo1-$500 million                 [II More than $50 billion

20.    How much do you                       {Wm-$50,000                                     231,000,001-510 minion                    El $500,000,001-$1 billion
       estimate your liabilities                       §$50,001-$1oo,000                     , 10,000,001—$50 million                  E] $1,ooo,ooo,oo1-$1o biilion
       10 b9?                                          i$1oo,oo1-$5oo,ooo                  Uf$5o,ooo,oo1-$1oo million                  E] $1o,ooo,ooo,oo1-$5o billion
                                             ,




                                                     Mrv_;$5oo.oo1-$1 million             {Ufs1oo,ooo,oo1-ssoo million                 C] More than $50 billion
              Sign Below

                                                 Ihave examined this petition. and I declare under penalty of perjury that the information provided is true and
 Foryou                                          correct.

                                                 If! have chosen to ﬁle under Chapter 7, i am aware that I may proceed, if eligibie, under Chapter 7, 11,12, or 13
                                                 of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                 under Chapter 7.
                                                 If no attorney represents me and I did nm pay or agree to pay someone who is not an attorney to help me ﬁll out
                                                 this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                 I   request relief in accordance with the chapter of title 11, United States Code, speciﬁed in this petition.
                                                 I understand making a false statement. concealing property, or obtaining money or property by fraud in connection

                                                 with a bankrg y case can ”sult in ﬁnes up to $250,000, or imprisonment for up to 20 years, or both.
                                                 18 U.S.C. §§


                                                     X “it?
                                                                2,1341, 19, and 3571,

                                                                     we
                                                        Sigﬁa‘fﬁe ofDebt7
                                                                               is
                                                                                1v
                                                                                     W                            X
                                                                                                                      Signature of Debtor 2

                                                        Executed on                                                   Executed on
                                                                                                                                       MM/   DD   IYYYY


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Debtor   1    Randy                          Lucas                                               Case number   mknswm
             First Name   Middle Name               Last Name




For you if you are filing this              The law allows you, as an individual. to represent yourself in bankruptcy court, but you
bankruptcy WithOUt an                       should understand that many people find it extremely difficult to represent
attorney                                    themselves successfully. Because bankruptcy has long-term financial and legal
                                            consequences, you are strongly urged to hire a qualiﬁed attorney.
If you are represented by
an attorney, you do not                     To be successful, you must correctly ﬁle and handle your bankruptcy case. The rules are very
need to ﬁ|e this page.                      technical. and a mistake or inaction may affect your rights. For example, your case may be
                                            dismissed because you did not ﬁle a required document. pay a fee on time. attend a meeting or
                                            hearing, or cooperate with the court. case trustee, U.S. trustee, bankruptcy administrator, or audit
                                            firm if your case is selected for audit. If that happens, you could lose your right to ﬁle another
                                            case, or you may lose protections, including the beneﬁt of the automatic stay.

                                            You must |ist all your property and debts in the schedules that you are required to file with the
                                            court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                            in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                            property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                            also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                            case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                            cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                            Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                            If you decide to ﬁle without an attorney, the court expects you to follow the rules as if you had
                                            hired an attorney. The court will not treat you differently because you are ﬁling for yourself. To be
                                            successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                            Bankruptcy Procedure, and the local rules of the mud in which your case is filed. You must also
                                            be familiar with any state exemption laws that apply.

                                            Are you aware that filing for bankruptcy is a serious action with long-term ﬁnancial and legal
                                            consequences?
                                            CINO
                                        .Yes
                                            Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                            inaccurate or incomplete,- you could be ﬁned or imprisoned?
                                            END
                                        '85
                                            Did y       pay or agree to pay someone who is not an attorney to help you ﬁll out your bankruptcy forms?
                                                    0
                                            D     Yes. Name of Person                                                                              .


                                                       Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Ofﬁcial Form 119).



                                            By signing here, I acknowledge that] understand the risks involved in filing without an attorney.          I


                                            have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                            attorne                    lose my rights or property if I do not properly handle the case.

                                              '

                                        X                                                             X
                                             gignature of   0%”    1   ,                                   Signature of Debtor 2


                                            Date                                                           Date
                                                                                                                            MM I   DD IYYYY

                                            Contact phone                                                  Contact phone


                                            Cell phone                                                     Ce" phone


                                            Email address                                                  Email address




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              Fill in this information to identify your case:

              Debtor    1          Randy                                                         Lucas
                                   First Name                       Middle Name                      L35! Name

              Debtor 2
              (Spouse, if ﬁling) Firs‘ Name                         Mldcﬂe Name                      Last Name


              United Staies Bankruptcy Court for the:           EASTERN District of PENNSYLVANIA

              Case number                                                                                                                                                                  D   Check if this is an
                                   m known)                                                                                                                                                    amended ﬁling




        Ofﬁcial Form 1068um
        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                             12/15

        Be as complete and accurate as possible. If two married people are     ﬁling together, both are equally responsible for supplying correct
        Information. Fill out all of your schedules first; then complete the information on thls form. If you are ﬁling amended schedules after you file
        your original forms, you must fill out a new Summary and check the box at the top of this page.


    m                       Summarize Your Assets

                                                                                                                                                                                       Your assets
                                                                                                                                                                                       Value of what you own
         1.     Schedule A/B: Property (Ofﬁcial Form 106A/B)
                                                                                                                                                                                           $   0
                1a Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................


                1b.   Copy line 62, Total personal property, from Schedule A/B ...............................................................................................             $   14805
    1




                1c,   Copy line 63, Total of all property on Schedule A/B ...............,..........................................................................................
                                                                                                                                                                                           5   14805



    m                       Summarize Your Liabilities


                                                                                                                                                                                       Your liabilities
                                                                                                                                                                                       Amount you owe
        2.      Schedule D: Cred/tors Who Have Claims Secured by Prope/z‘y (Ofﬁcial Form 106D)
                2a Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part                                   1   of Schedule D ............         5   —0—_—
        3,      Schedule E/F: Creditors Who Have Unsecured Claims (Ofﬁcial Form 106E/F)
                                                                                                                                                                                           $   0
                3a. Copy the total claims from Pan 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................


                3b.   Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F .......................................
                                                                                                                                                                                       +   $   31636


                                                                                                                                                        Your total liabilities             $   31636




m       4.     Schedule
                            Summarize Your Income and Expenses

                              1:   Your Income (Ofﬁcial Form 106i)
                Copy your combined monthly income from line 12 of Schedule I ..........................................................................................                    $       1922

‘
        5‘     Schedule J: Your Expenses (Ofﬁcial Form 106J)
                Copy your monthly expenses from line 22c of Schedule J                                                                                                                     $       3230

                                                                                                     89mm                    i—awemz
                                                                                                                      ﬂu:135:3
                                                                                                                                      éL7
        Ofﬁcial Form 1068um                                        Summary of Your Assets and                    ﬁlm” and                   In   Statlstical Information                           page   1   of2
              Case 19-11264-jkf                           Doc 1       Filed 03/01/19 Entered 03/01/19 12:19:12                                     Desc Main
                                                                      Document      Page 9 of 39

   Debtor     1            Randy                          Lucas                                              Case number       (rlknown)
                           First Name       M>ddla Name       Last Name




  m 6,
                         Answar These Questions for Administrative and Statistical Records

         Are you filing for bankruptcy under Chapters 7, 11, or 13?


         ”0.
          /         es
                         You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.




    7.   What kind of debt do you have?

          \\\\\\   Your debts are primarily consumer debts. Consumer debts are those ”incurred by an individual primarily for              a personal,
                   family, or househokj purpose." 11 USC § 101(8). Fill outlines 8-99 for statistical purposes. 28 U.S.C. § 159.

         HYour debts are not primarily consumer debts.                    You have nothing to report on this part of the form. Check this box and submit
                   this form to the     own with your other schedules.


    8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Ofﬁcial
         Form 122A—1 Line 11; OR, Form 1228 Line 11; OR, Form 1220-1 Line 14.                                                                            s 3181




    9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                      Total claim


            From Part 4 on Schedule E/F, copy the following:


         93. Domestic support obligations (Copy line 6a.)                                                             $    0



         9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                    3    0


         9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                          $    0



         9d. Student loans. (Copy line 6f.)                                                                           $    0


         9e. Obligations arising out of a separation agreement or divorce that you did not repon as                        0
                                                                                                                      $
             priority claims. (Copy line 6g.)


         9f. Debts to pension or proﬁt-sharing plans, and other similar debts. (Copy line 6h‘)                    +   s    0



         99. Total. Add lines 9a through 9f.                                                                          3;   0




Ofﬁcial Form 1068um                Summary of Your Assets and Llabilities and Certain Statistical Information                                                 page 2   of2
                Case 19-11264-jkf                        Doc 1                  Filed 03/01/19 Entered 03/01/19 12:19:12                                   Desc Main
                                                                                Document      Page 10 of 39


    Fill in this information to identify your case and this ﬁling:


    Debtor      1
                           Randy                                                            Lucas
                           First Name                   Middle Name                              Last Name

    Debtor 2
    (Spouse. rfﬁling) Fug Name                          Middle Name                              Last Name


    United States Bankruptcy Court for the:         EASTERN               District of    PENNSYLVANIA

    Case number
                                                                                                                                                                  CI Check if this is an
                                                                                                                                                                     amended ﬁling

     Ofﬁcial Form 106A/B
                                                                                                         '
     Schedule A/B: Property                                                                                                                                                    12/15

     In each category, separately  list and describe Items. List an asset only once. If an asset ﬁts In more than one category, list the asset in the
     category where you think it fits best. Be as complete and accurate as possible. If two married people are ﬁling together, both are equally
     responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages.
     write your name and case number (if known). Answer every question.


m   1,
                     Deserlbe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

         Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

         RITE   No. Go to Pan 2.
         [U     Yes. Where is the propeny?
‘


                                                                                        What is the property? Check all ‘hat apply.      00 no! deduct secured claims or exemptions. Put
                                                                                        D    Singlelfamily home                          the amount of any secured claims on Schedule D:
           11‘                                                                                                                           Cradilors Who Have Claims Secured by Property.
                                                                                        CI Du p lex or multi-unit buildin g
                    Street address, if available, or other descn'ption
                                                                                        D    Condominium 0" cooperative                  Current value of the        Current value of the
                                                                                        El Manufactured or mobile home                   entire property?            portion you own?
                                                                                        D    Land                                        5                           $
                                                                                        El Investment property
                                                                                        D    Timeshare                                   Describe the nature of your ownership
                    City                            S‘ate      2”:        00“                                                            interest (such as fee simple, tenancy by
                                                                                        D    Other
                                                                                                                                         the entire-ties, or a life estate), if known.
                                                                                        Who has an interest in the property? Check one
                                                                                        D   Debtor1 only
                    County                                                              Cl Debtor 2 only
                                                                                        C] Debtor1 and Debtor        2 only
                                                                                                                                         D   Check if this; is community property
                                                                                                                                             (see Instructions)
                                                                                        El  At leas't one of the debtors and another
                                                                                        Other information you wish to add about this item, such as local
                                                                                        property identiﬁcation number:
         If you own or have more than one, list here:
                                                                                    What is the property? Check all that app ly ‘        Do not deduct secured claims or exemptions Put
                                                                                    D       Single-family home                           the amoum of any secured claims on Schedule D:
           1'2.                                                                                                                          Creditors Who Have Claims Secured by Property.
                                        .   ,                    ‘    ,             Cl Duplex or multi~unit building
                    Streak address, If available. or other descnptlon                                        .   ‘       ‘
                                                                                    :1      Condomlnlum or COOPEFBUVE                    Current value of the        Current value of the
                                                                                    D       Manufactured or mobile home                  entire property?            portion you own?
                                                                                    D       Land                                         3                          5
                                                                                    CI Investment property
                                                                                    B        ,                                           Describe the nature of your ownership
                                                                                            Timeshare
                    City                            State      ZIP Code                                                                  Interest (such as fee simple, tenancy by
                                                                                    D       Other     -
                                                                                                                                         the entireties, or a life estate), if known.
                                                                                    Who has an interest in the property? Check one,
                                                                                    D     Debtor     1       only

                    County                                                          Cl Debtor 2 only
                                                                                    D Debtor and Debtor2 only
                                                                                                     1                                   0 Check if this is community property
                                                                                    D At least one of the debtors and another                (see instructions)

                                                                                    Other Information you wlsh to add about this item, such as local
                                                                                    property identiﬁcation number:


    Ofﬁcial Form 106A/B                                                                 Schedule AIB: Property                                                             page   1
                Case 19-11264-jkf                       Doc 1            Filed 03/01/19 Entered 03/01/19 12:19:12                                             Desc Main
                                                                         Document      Page 11 of 39
     Debtor     1           Randy                           Lucas                                                     Case number   (rfknown)
                            me Name       Middle Name            LasK Name




                                                                             What is the property? Check all that apply.                  Do not deduct secured claims or exemptions. Put

           1.3,
                                                                             D     Single-family home                                     the amount of any secured claims on Schedule D:
                                                                                                                                          Creditors Who Have Claims Secured by Property.
                    Street address, if available, or other description       D     Duplex‘or multi-unit building
                                                                             0    Condominium or cooperative                              Current value of the
                                                                                                                                          entire property?
                                                                                                                                                                     Current value of the
                                                                                                                                                                     portion you own?
                                                                             D     Manufactured or mobile home
                                                                             D     Land                                                   $                          $

                                                                             El Investment property
                    C'rty                           State      ZIP Code      El Timeshare                                                 Describe the nature of your ownership
                                                                                                                                          interest (such as fee simple, tenancy by
                                                                             CI Other                                                     the entireties, or a life estate), if known.
                                                                             Who has an interest in the property? Check one
                                                                             D    Debtor1 only
                    County
                                                                             C] Debtor    2 only
                                                                             C] Debtor    1   and Debtor 2 only                           D Check if this is community property
                                                                             C] At least pne of the debtors and another                         (see instructions)

                                                                             Other information you wish to add about this Item, such as local
                                                                             property identiﬁcation number:

L




    2‘   Add the dollar value of the portlon you own for all of your entries from Part 1, including any entries for pages
         you have attached for Part 1. Write that number here. ......................................................................................         '9




m                    Describe Your Vehicles


;
    Do you own, lease, or have legal or equitable interest in any vechles. whether they are registered or not? Include any vehicles
    you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases,

    3‘   Cars, vans, trucks, tractors, sport utility vehicles. motorcycles

         W No
         {BEYes

          314       Make:                                                    Who has an interest in the property? Check one‘              Do not deduct secured claims or exemptions Put
                                                                                                                                          the amount of any secured claims on Schedule D:
                    Model:                                                   D    Debtor1 only
                                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                             C] Debtor 2 only
                    Year:                                                                                                                 Current value of the       Current value of the
                                                                             CI Debtor    1   and Debtor 2 only
                    Approximate mileage:                                                                                                  entire property?           portion you own?
                                                                             :1   At least one of the debtors and another
                    Other information:
                                                                             D Check if thls is community          property (see
                                                                                  instructions)



         If you own or have more than one. describe here:

         32,        Make:                                                    Who has an interest in the property? Check one‘              Do not deduct secured daims or exemptions. Put
                                                                                                                                          the amount of any secured claims on Schedule D:
                    Model:                                                   D Debtor1 only                                               Creditors Who Have Claims Secured by Pmperty.
                                                                             D Debtor 2 only
                    Year:                                                                                                                 Current value of the       Current value of the
                                                                             D Debtor and Debtor 2 only
                                                                                          1
                                                                                                                                          entire property?           portion you own?
                    Approximate mileage:                                     D At least one of the debtors and another
                    Other information:
                                                                             El Check if this is community property (see
                                                                                  instructions)




    Ofﬁcial Form 1DBA/B                                                      Schedule AIB: Property                                                                        page 2
                 Case 19-11264-jkf                         Doc 1             Filed 03/01/19 Entered 03/01/19 12:19:12                                                              Desc Main
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     Debtor      1
                             Randy                            Lucas                                                                 Case number     (Ilknown)
                          First Name       Middle Name               Last Name




                     Make:                                                            Who has an interest in the property? Check one                      Do not deduct secured claims or exemptions» Put
          3,3_                                                                            W
                                                                                                                                                          the amount of any secured claims on Schedule D:
                     Model:                                                          T         ebtor1 only                                                Creditors Who Have Claims Secured by Property.
                                                                                              Debtor 2 only
                     Year:                                                                                                                                 Current value of the            Current value of the   '

                                                                                      WDebtor          1    and Debtor 2 only
                     Approximate mileage:                                                                                                                  entire property?                portion you own?
                                                                                                 least one of the debtors and another
                     Other information:
                                                                                      Cl Check if this is community property (see
                                                                                              instructions)


          34,        Make:                                                            Who has an interest in the property? Check one‘                     Do not deduct secured claims or exemptions, Put
                                                                                 in                                                                       the amount of any secured daims on Schedule D:
                     ModeI:
                                                                                      D: Debtor        1    only                                          Creditors Who Have Claims Secured by Pmperry
                                                                                      DZDebtor 2 only
                     Year:                                                                                                                                 Current value of the            Current value of the
                                                                                 MUM          Debtor   1    and Debtor 2 only
                     Approximate mileage:                                                                                                                  entire property?                portion you own?
                                                                                 i    D At least one of the debtors and another
                     Other information:
                                                                                      [3 Check if this is community property               (see
                                                                                              instructions)




_
    4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
         Examples: Boais, trailers, motors, personal watercraft, ﬁshing vessels, snowmobiles, motorcycle accessories
         m,“ No
         my Yes

                     Make:                                                            Who has an interest in the property? Check one.                     Do not deduct secured claims ‘or exemptions. Put
          41,
                                                                                                                                                          the amount of any secured claims on Schedule D:
                     Model:                                                           D       Debtor   1    only                                          Creditors Who Have Claims Secured by Pmperty.
                                                                                      G       Debtor 2 only
                     Yeah
                                                                                      C] Debtor        1.   and Debtor 2 only                              Current value of the            Current value of the
                     Other information:                                               0 At least one of the debtors and another                            entire property?                portion you own?

                                                                                      CI Check if this is community property (see
                                                                                         instructions)



         If you own or have more than one, ﬁst here:

                     Make:                                                            Who has an interest in the property? Check one                      Do not deduct secured claims or exemptions. Put
          42.
                                                                                                                                                          the amount crf any secured claims on Schedule D:
                     Model:                                                           D Debtor1 only                                                      Creditors Who Have Claims Secured by Property.
                                                                                      G Debtor 2 oniy
                     Year:                                                                                                                                 Current value of the            Current value of the
                                                                                      D Debtor and Debtor 2 only
                                                                                                       1
                                                                                                                                                           entire property?                portion you own?
                     Other information:                                               D At least one of the debtors and another
                                                                       _

                                                                                                 .

                                                                       i

                                                                                                                                                          $                                $
                                                                       E
                                                                                      [J Check if this             is community property (see
                                                                                              instructions)
                                                                       i




    5,   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      0
         you have attached for Part 2. Write that number here ..................................................................................................................   9   $




     Ofﬁcial Form 106A/B                                                              Schedule A/B: Property                                                                                       page 3
                    Case 19-11264-jkf                                      Doc 1           Filed 03/01/19 Entered 03/01/19 12:19:12                                                           Desc Main
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     Debtor          1
                               Randy                                           Lucas                                                          Case number       (rfknown)
                              Firs! Name                 Middie Name               Last Name




    m                     Describe Your Personal and Household Items

    Do you own or have any legal or equitable Interest In any of the followlng items?
                                                                                                                                                                                              Current value of the
                                                                                                                                                                                              portion you own?
                                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                                              or exemptions.

    6.        Household goods and furnishings
              Examples: Major appliances. furniture, linens, china, kitchenware
          ﬁNo
          “I        Yes. Describe      '''''''
                                                     ,




                                                     i
                                                     i
                                                         Bedroom And Furniture - Debtors Residence
                                                                                                                                                                                              E
                                                                                                                                                                                                  $ 1000


    7‘        Electronics
              Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                        collections; electronlc devices including cell phones, cameras. media players, games
          [a No
          {ET YesA Describe ..........

    8.        Collectibles of value
              Examples: Antiques and ﬁgurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                        stamp, coin, or baseball card collections; other collections, memorabiIia, colIectibles
          IE No                                                        ,,,,,
          [Er       Yes, Describe ..........
                                                                                                                                                                                                  $

L




    9.        Equipment for sports and hobbies
              Examples: Spons, photographic, exercise, and other hobby equiﬁment; bicycles, pool tabies, golf clubs, skis; canoes
                        and kayaks; carpentry tools; musical instruments
          ‘3 No
          m Yes. Describe ..........                                                                                                                                                          i   S



‘   10.    Firearms
           Examples: Pistols, riﬂes, shotguns, ammunition, and related equipment
          _
              NoE



          {U Yes. Describe ..........                                                                                                                                                             $


    11.Clothes
              Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
          5         No
                                           ‘
                                                                                                         -                                               A           ﬂ”
          m         Yes. Describe --------- Clothing
                                                 3



                                                 z
                                                                       —
                                                                           Debtors Residence                                                                                                      S
                                                                                                                                                                                                      300



    12.Jewelry
              ExampIes: Everydayjewelry, costume jewelry, engagement rings. wedding rings, heirloom jewelry, watches, gems,
                        QOId. silver

          W No
          D Yes. Describe .........                                                                                                                                                               $

    13.   Non-farm animals
           Examples: Dogs, cats, birds, horses

          [ZENO
          [C]; Yes. Describe ..........                                                                 .
                                                                                                                                                                                                  $


    14.   Any other personal and household Items you did not already list, Including any health aids you did not list


          EYes.           Give speciﬁc           3


                                                                                                                                                                                                  $
                    information. ............. j

    15‘   Add the dollar value of 3” of your entries from Part 3, including any entrles for pages you have attached                                                                                         1300
                                                                                                                                                                                                  5
          for Part 3. Write that number here .........................................................................................................................................   -)

    Ofﬁcial Form 106A/B                                                                        Schedule A/B: Property                                                                                          page 4
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     Debtor      1
                              Randy                                       Lucas                                                                            Case number wmawm
                             First Name            Mtddle Name                    Las‘ Name




                       Describe Your Financial Assets

                                                                                                                                                                                                        Current value of the
‘




    Do you own or have any legal or equitable interest In any of the following?
                                                                                                                                                                                                        portion you own?
                                                                                                                                                                                                        Do not deduct secured claims
                                                                                                                                                                                                        or exemptions.


    16.   Cash
          Examples: Money you have in your wallet, in your home, in                                       a   safe deposit box. and on hand when you ﬁle your petition

          MENU
          [E3 Yes ....................................................................................................................................................   Cash:   llllllllllllllllllll    $




    17‘   Deposits of money
           Examples: Checking, savings, or other ﬁnancial accounts; certiﬁcates of deposit; shares in credit unions. brokerage houses,
                     and other similar institutions. If you have multiple accounts with the same institution. list each.

          E      No
          m Yes .....................                                                               Institution name:


                                                    171. Checking account:                           Household Goods                —
                                                                                                                                            Debtors Residence                                            $   500

                                                    172‘ Checking account:                          Checking Account                    —
                                                                                                                                            m
                                                                                                                                            ecu                                                          $ 5

                                                    17‘3.   Savings account:                                                                                                                             5

                                                    17.4.   Savings account:                                                                                                                             3

                                                    17.5,   Certiﬁcates of deposit:                                                                                                                      $

                                                    175‘ Other ﬁnancial account:                                                                                                                         3

                                                    17.7,   Other ﬁnancial account:                                                                                                                      $

                                                    17.3.   Other ﬁnancial account:                                                                                                                      5

                                                    17.9,   Other ﬁnancial account:                                                                                                                      $




    18.   Bonds, mutual funds, or publicly traded stocks
          Examples: Bond funds, investment accounts with brokerage ﬁrms, money market accounts

          W No
          EU- Yes .................                 Institution or issuer name:

                                                                                                                                                                                                         $

                                                                                                                                                                                                         $

                                                                                                                                                                                                         $




    19.    Non-publicly traded stock and Interests in incorporated and unincorporated buslnesses, including an Interest in
           an LLC, partnership, and joint venture

          [a N0                                    Name Of entity:                                                                                                       % of ownership:

          [EEYea Give Speciﬁc                                                                                                                                                            0,0
                                                                                                                                                                                                         5
                information about
                them ........................                                                                                                                                            0/0



                                                                                                                                                                                         %               $




    Ofﬁcial Form 1DBA/B                                                                          Schedule AIB: Property                                                                                              page 5
              Case 19-11264-jkf                             Doc 1              Filed 03/01/19 Entered 03/01/19 12:19:12                    Desc Main
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 Debtor       1           Randy                              Lucas                                               Case number   (tfknown)
                         Fwst Name           Mlddle Name               Last Name




20‘    Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non~negotiable instruments are those you cannot transfer to someone by signing or deiivering them.

      END
      ﬂYes. Give speciﬁc                     Issuer name:
              information about
              them .....................                                                                                                    3

                                                                                                                                            $

                                                                                                                                            $



21‘    Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or proﬁt-sharing plans

      gD No
       @Yes.      List each
              account separately.            Type of account:             Institution name:

                                             401(k) or similar plan:
                                                                         401        '
                                                                                   K Vanguarfl Group                                        5 13000

                                             Pension plan:                                                                                  $

                                             IRA:                                                                                           $

                                             Retiremem account:                                                                             $

                                             Keogh:                                                                                         $

                                             Additionai account:                                                                            5

                                             Additional account:                                                                            $




22.3ecurity deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas. water), telecommunications
       companies, or others

      W No
      ﬂ       Yes ........................                         Institution name or individual:

                                             Electric:
                                                                                                                                            $
                                             Gas:
                                                                                                                                            $
                                             Heating oil:
                                                                                                                                            $
                                             Security deposit on rental unit
                                                                                                                                            $
                                             Prepaid ram:
                                                                                                                                            5
                                             Telephone:
                                                                                                                                            5
                                             Water:
                                                                                                                                            $
                                             Rented furniture:
                                                                                                                                            $
                                             Other:
                                                                                                                                            $



23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

      @121;   No

      if      Yes ........................   Issuer name and description:

                                                                                                                                            $

                                                                                                                                            $
                                                                                                                                            $



Ofﬁcial Form 106MB                                                                      Schedule AIB: Property                                        page 6
                  Case 19-11264-jkf                                 Doc 1          Filed 03/01/19 Entered 03/01/19 12:19:12                                        Desc Main
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     Debtor       1
                            Randy                                      Lucas                                              Case number   (Ifkrmwn)
                                                                                                “
                           Fast Name              Maddie Name              Last Name




    24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
           26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

      {END
       D Yes            ................................       Institution name and description. Separately ﬁle the records of any interests.“ U.S.C. § 521(c):




    25‘   Trusts, equitable or future interests in property (other than ahything listed in line 1), and rights or powers
          exercisable for your benefit

          {a
          m No
          ED Yes. Give speciﬁc
                  information about them.“

L




    26,    Patents, copyrights, trademarks, trade secrets, and other intellectual property
           Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

      {2]         No

      rt}         Yes. Give speciﬁc                        3
                                                                                                                                                                    >




                  information about mammé                                                                                                                               S




    27.    Licenses, franchises, and other general intangibles
           Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

          mNo
          Fiﬁ     Yes. Give speciﬁc
                  information about them”.


    Money or property owed to you?                                                                                                                                      Current value of the
                                                                                                                                                                        portion you own?
                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                        claims or exemptions.

    28‘Tax refunds owed to you

          mm
          m Yes. Give speciﬁc information
                 about them, including whether
                                                                                                                                             Federal:
                                                                                                                                        i


                        you already ﬁled the returns                                                                                         State:
                        and the tax years. .......................                                                                      E




                                                                                                                                             Local:



    29,    Family support
           Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement. property settlement

      “2? No
      3-D”
                  Yes. Give specific information ..............
                                                                                                                                            Alimony:                    $
                                                                                                                                            Maimenancez                 $
                                                                                                                                            Suppon:                     $
                                                                                                                                        '


                                                                                                                                            Divorce settlement:         s
                                                                                                                                            Property settlement:        5


    30.    other amounts someone owes you
           Examples: Unpaid wages, disability insurance payments, disability beneﬁts, sick pay, vacation pay, workers’ compensation,
                     Social Security beneﬁts; unpaid loans you made to someone else

          {$251   No
          {if Yes. Give speciﬁc information .............

     Ofﬁcial Form 1DBA/B                                                               Schedule AIB: Property                                                                     page 7
               Case 19-11264-jkf                                Doc 1                   Filed 03/01/19 Entered 03/01/19 12:19:12                                                                        Desc Main
                                                                                        Document      Page 17 of 39
     Debtor    1
                           Randy                                   Lucas                                                                     Case number       (rfknown)
                          First Name           Mrdd|e Name                Las! Name




    31,    Interests in insurance policies
           Examples: Health, disability, or life insurance; health savings account (HSA); credit. homeowner’s, or renter’s insurance
          mNo
          {1:2 Yes. Name the insurancg cgmpany                            Company name:                                                          Beneﬁciary:                                                     Surrender or refund value:
                    of each policy and list Its value‘               .,


                                                                                                                                                                                                                 $

                                                                                                                                                                                                                 $

                                                                                                                                                                                                                 $

    32. Any interest in property that is due you from someone who has died
        If you are the beneﬁciary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
        property because someone has died.
          {Z   No
                                                                                                                                                                                                            z



          [a Yes. Give speciﬁc information ...........                                                                                                                                                      g




                                                                                                                                                                                                                 s
                                                                                                                                                                                                            z?




    33,    Claims against third parties, whether or not you have ﬁled a lawsuit or made a demand for payment
           Examples Accidents, emp|oyment disputes, insurance claims, or rights to sue
          {a} No
          @Yes.        Describe each claim. .................
                                                                                                                                                                                                                 $
/

    34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
          to set off claims
               No
          [EI- Yes. Describe each claim. ..................
                                                                                                                                                                                                            E



                                                                          A    <        A   W,          N     H                                                                                ,,,,,,   Mi$


    35.Any ﬁnancial assets you did not already list

          m N0
          {E Yes. Give speciﬁc information ............                                                                                                                                                          s


    36‘   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
j
          for Part 4.     e
                          rte
                          that number here ............................................................................................................................................    9                     $
                                                                                                                                                                                                                     13505




m   37.
                       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

          Do you own or have any legaI or equitable Interest in any business-related property?
                                                                                                                                                                                                                                                  ‘




          m No. Go to Part 6.
          {if Yes. (30 to line 38.
                                                                                                                                                                                                            Current value of the
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured claims      _




                                                                                                                                                                                                            or exemptions.
'
    38‘   Accounts receivable or commissions you already earned

      FU—      Yes. Describe .......                                                                                                                                                                    E

                                         g




                                         i
                                                                                                                                                                                                        :3

    39‘   Office equipment, furnishings, and supplies
          Examples: Businessvrelated computers, software, modems, printers, copiers, fax machines, rugs, 1elephones, desks, chairs, electronic devices

          ﬁNo                            §,_             _,                        ,,               ,            ,,                                                        ,   M, H       ,_



          [Eyes Describe “““““                                                                                                                                                                          $




    Ofﬁcial Form 106A/B                                                                     Schedule AIB: Property                                                                                                          page 8
                               Case 19-11264-jkf                                     Doc 1          Filed 03/01/19 Entered 03/01/19 12:19:12                                                                 Desc Main
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     Debtor                     1
                                            Randy                                       Lucas                                                         Case number        (Ilknown)
                                            First Name                 Middle Name          Last Name




    40.       Machinery, ﬁxtures, equipment, supplies you use in business. and tools of your trade

          @No
          m Yes. Describe                             .......
                                                                                                                                                                                                                     s


    41.       Inventory
              _
                                No
          {ET Yes. Describe ......                                                                                                                                                                                   5



'
    42.lnterasts In partnerships orjoint ventures                                                                                                                          .v


          ﬁNo
                  D:           Yes. Descn‘be """""                    Name of entity:                                                                                           %    of ownership:
                                                                                                                                                                                           %                         $
                                                                                                                                                                                           O/o



                                                                                                                                                                                           %                         $


    43                 <
                               tomer llsts, mailing Ilsts, or other compilations
          \\           i       No
          rd Yes. Do your lists Include personally identifiable information (as deﬁned in                                                   11   U.S.C. § 101(41A))?

                                      [:ENO
                                      [U Yes. Describe ........                                                                                                                                                  g



                                                                                                                                                                                                                         $
                                                                                                                                                                                                                 E




    44.                    ‘
                                 business-related property you did not already list
                               No
              D                Yes. Give speciﬁc
                                                                                                                                                                                                                         $
                               information .........
                                                                                                                                                                                                                         $

                                                                                                                                                                                                                         $

                                                                                                                                                                                                                         $

                                                                                                                                                                                                                         $

                                                                                                                                                                                                                         $

    45.       Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                                     0
                                                                                                                                                                                                                         $
              for Part 5. Write that number here ................................................................................................................................................   '9


                                       Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                                       If you own or have an interest in farmland, list it in Part 1.


    46. Do                     you own or have any legal or equitable interest in any farr:n- or commercial fishing-related property?
                   '
          \                    No. Go to Part 7.
          m Yes. Go to line 47‘
                                                                                                                                                                                                                     Current value of the           ‘




                                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                                     or exemptions.
    47,       Farm animals
              Examples: Livestock, poultry, farm-raised ﬁsh
      m No
         ﬂ                     Yes ........................   E
                                                                  L                                                                                                                                      N




                                                                                                                                                                                                             f




                                                                                                                                                                                                             i
                                                                                                                                                                                                                         5




    Ofﬁcial Form 106A/B                                                                                 Schedule A/B: Property                                                                                                    page 9
                    Case 19-11264-jkf                                    Doc 1            Filed 03/01/19 Entered 03/01/19 12:19:12                                                                                   Desc Main
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         Debtor     1           Randy                                        Lucas                                                                        Case number         (ifknown)
                               First Name            Mmdle Name                   Last Name




        48.   Crops—either growing or harvested
              [ENO                              y.
              TU    Yes. Give speciﬁc           5*




                    information ............    1                                                                                                                                                                    ‘    $

        49.   Farm and ﬁshing equipment, Implements, machinery, fixtures, and tools of trade
               »    No
              KW Yes ........................
                                                                                                                                                                                                                          $
    '

        50‘   Farm and ﬁshing supplies. chemicals, and feed

              [a No
              m Yes .........................
                                                                                                                                                                                                                          3
                                                             ,   ,,..,                                                                                                        k           _       ,_,   -
        51.An farm- and commercial ﬁshing-related property you did not already list
              WYNo
              m Yes. Give speciﬁc
                    information.
                           ............                                                                                                                                                                                   5


        52.    Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                          0
               for Part 6. Write that number here .........................................................................................................................................                     -)       $




                            Describe All Property You Owu or Have an Interest in That You Did Not List Above

        53‘ Do      you have other property of any kind you did not already list?
               Examples: Season tickets, country dub membership

              [a No                                                  w           MA,           _    _          ,                               ,             ,,   W           ,,
                                                                                                                                                                                                WE
                                                                                                                                                                                                                              3
              {CF} Yes‘ Give speciﬁc                                                                                                                                                                        1



                   information. ............                                                                                                                                                                                  5

                                                                                                                                                                                                            g
                                                                                                                                                                                                                              $
                                                                         M                                                                                                                k                 %




        54.   Add the dollar value of all of your entries from Part 7. Write that number here ..........................................................                                                        '9            $
                                                                                                                                                                                                                                   0




                            List the Totals of Each Part of this Form
                                                                                                                                                                                                                              0
        55.   Part 1: Total real estate, line 2 ....................................................................................................................................................            '9       $


        56.   Part 2: Total vehicles, line 5                                                                              $

                                                                             .                                                1300
        57.   Part 3: Total personal and household Items, line 15                                                         $

                                                                                                                              13505
        58.   Part 4: Total ﬁnancial assets, line 36                                                                      $

                                                                                                                              0
        59.   Part 5: Total business-related property, line 45                                                            $

                                                                                                                              0
        60‘   Part 6: Total farm- and ﬁshing-related property, line 52                                                    $

L




        61.   Part 7: Total other property not listed, line 54                                                        +$      0


        62.Tota| personal property. Add lines 56 through 61. ....................                                         $
                                                                                                                              14805
                                                                                                                                                             Copy personal pr0peny tetal                         9       +$       14305




        53,   Total of all property on Schedule AIB. Add line 55                              + Iine    62 ..........................................................................................                    $
                                                                                                                                                                                                                              ”805



         Ofﬁcial Form 1DBA/B                                                                       Schedule A/B: Property                                                                                                                 page 10
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 Fill in this information to identify your case:

 Debtor     1       Randy                                                   Lucas
                     Hm Name                   Middle Name                     Last Name

 Debtor 2
 (Spouse. if filing) Flrsl Name


 United States Bankruptcy Court for the:


 Offse number
  ‘   WW“)
                                           m   Middle Name


                                                             District of
                                                                               Las( Name


                                                                           PENNSYLVANIA

                                                                                                                                                       D       Check if this is an
                                                                                                                                                               amended ﬁling



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                               04/16

Be as complete and accurate as possible. If two married peopie are ﬁling together, both are equally responsible for supplying correct information.
Using the property you llsted on Schedule A/B: Property (Ofﬁcial Form 1OBAIB) as your source, list the property that you claim as exempt. If more
space is needed, ﬁll out and attach to this page as many copies of Pan 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
speciﬁc dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain beneﬁts, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, If you claim an exemption of 100% of fair market value under a law that
limlts the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


m1.
                 Identify the Property You Claim as Exempt

      Which set of exemptions are you clalming? Check one                    onlyz even     if your spouse is ﬁling with you,
      D     You are claiming state and federal nonbankruptcy exemptions.                   11   U.S.C. § 522(b)(3)
      D     You are claiming federal exemptions. 11 U.S,C. § 522(b)(2)



 24   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


        Brief deacripﬂon of the property and Ilne on            Current value of the             Amount of the exemption you clalm          Speciﬁc laws that allow exemptlon
        Schedule A/B that lists this property                   portion you own
                                                                Copy the value from              Check only one box for each exemption.
                                                                Schedule A/B
                            Clothing                                                                                                       llusc522(d)(3);
      Brief
      description:           ———————————                         $ 300                            D     $
                                                                                 .                £21   100% of fair market value, up to
      Line from
      Schedule A/B:                                                                                     any applicable statutory limit

                            Household Goods
       Bri e f
                              ——————————-——~—                    $   500                          D5                                       “”5: 5 22(d)(3)'lIIISESZZMJQJ‘
      descriptlon:
      Line from                                                                                   a 100% of fair market value, up to
      Schedule A/B:                                                                                     any applicable statutory limit
                            Checking Account
      Brief                                                                                                                                1]522“ l        .

      description:            —-———-—-———                        $ 5                              D5
                                                                                                  El 100% of fair market value. up to
                                                                                                                                           __._..__.___
      Line from
      Schedule A/B:                                                                                     any applicable statutory limit


 3.   Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that _for cases ﬁled on or aﬂer the date of adjustment.)

      E21   No
      D     Yes. Did you acquire the property covered by the exemption within 1,215 days before you ﬁled this case?
            [I    No
            D     Yes



Ofﬁcial Form 106C                                               Schedule C: The Property You Claim as Exempt                                                        page   1   of___
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Debtor   1       Randy                          Lucas                                             Case number   (II/mow")
                H!“ Name         Middle Name       Last Name




m              Additional Page

         Brief description of the property and line
         on Schedule A/B that lists this property
                                                           Current value of the
                                                           portion you own
                                                                                  Amount of the exemption you claim         Speciﬁc laws that alIow exemption

                                                           Copy the value‘ from   Check only one box for each exemption
                                                           Schedule A/B

     Brief
                           401   K                                                                                          11usc522§d2115
     description:                                              $ 13000            a$
     Line from
     Schedule A/B:
     Brief
     description:
     Line from
     Schedule A/B:
                           Bedroom And Furniture
                                                               $
                                                                    1000
                                                                                  M


                                                                                  D$
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit



                                                                                  a100%     of fair market value, up to
                                                                                      any applicable statutory limit
                                                                                                                            WW            .                   .




     Brief
     description:                                              $                  D3
     Llne from
                                                                                  Cl 100% of fair market value, up to
     Schedule A/B:                                                                    any applicable statutory limit

     Brief
     description:                                              :5                 Us
                                                                                  CI 100% of fair market value. up to
     Line from
     Schedule A/B.'                                                                  any applicable statutory limit

     Brief
     description:                                              5                  EI$
     Line from
                                                                                  El 100% of fair market value, up to
     Schedule A/B.‘                                                                   any applicable statutory limit


     Brief
     description:                                              5                  EI$
     Line from
                                                                                  CI 100% of fair market value. up to
     Schedule A/B:                                                                   any applicable statutory limit


     Brief
     description:                                              $                  D3
     Line from
                                                                                  D   100% of fair market value. up to
     Schedule A/B:                                                                    any applicable statutory limit

     Brief
     description:                                              5                  EM
     Line from
                                                                                  CI 100% of fair market value. up to
     Schedule A/B:                                                                   any applicable statutory limit


     Brief
     description:                                              :5                 Us
                                                                                  Cl 100% of fair market value, up to
     Line from
     Schedule A/B:                                                                    any applicable statutory limit


     Brief
     description:                                              5                  Elsa

     Line from
                                                                                  D   100% of fair market value, up to
     Schedule A/B:                                                                    any applicable statutory limit

     Brief
     description:                                              $                  Us
     Line from
                                                                                  D   100% of fair market value, up to
     Schedule A/B.‘                                                                   any applicable statutory limit


     Brief
     description:                                              $                  D5
                                                                                  CI 100% of fair market value, up to
     Line from
     Schedule A/B:                                                                   any applicable statutory limit



Ofﬁcial Form 1060                                        Schedule C: The Property You Claim as Exempt                                         page   _   of
                    Case 19-11264-jkf                               Doc 1                    Filed 03/01/19 Entered 03/01/19 12:19:12                                                             Desc Main
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     Fill in this information to identify your case:

     Debtor         1
                                First Name                          Middle Name                               Last Name

     Debtor 2
     (Spouse, iffiling)         stt   Name                          Module Name                               Las| Name


     Uniied Staies Bankruptcy Court for ihe:                                            District of

     Case number
         (If known)                                                                                                                                                                                   El Check if this is an
                                                                                                                                                                                                            amended ﬁling


     Official Form 106D
     Schedule D: Creditors Who Have                                                                                        Claims Secured by Property                                                                              12/15

     Be as complete and accurate as possible. If two married people are ﬁling together, both are equally responsible for supplying correct
     information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
     additional pages, write your name and case number (if known).

    1.     Do           ny creditors have claims secured by your property?
          ﬂue. Check this box and submit this form to the coun with your other schedules. You have nothing else to report on this form_
          [Cr Yes.         Fill in all of the information below.



m
a

    2.
                          List All Secured claims
                                                                _
                                                                                    ‘


                                                                                                                     .
           Llst all secured claim. If a creditor has more than one secured claim, list the creditor separately Amoum, of dam,
                                                                                                                               _                 .
                                                                                                                                                             Cdmhmﬁ
                                                                                                                                                                        '




                                                                                                                                                                                         :
                                                                                                                                                                                             mm B
                                                                                                                                                                                                        "

                                                                                                                                                                                             Value d‘fcollateral      :
                                                                                                                                                                                                                          ”fem-I'm}: C”
                                                                                                                                                                                                                               Unsecured
                                                                                                                                                                                                                                           "

                                                                                                                                                                                                                                           7




           for each daim. If more. than one. creditor has a particular claim, Hst the other creditors in Part 2.                                             ,‘n°r_umthe
                                                                                                                                                                 1de
                                                                                                                                                                            -
                                                                                                                                                                                --
                                                                                                                                                                                             {that supports this
                                                                                                                                                                                                                      ,

                                                                                                                                                                                                                              portion
;


5
                            .                                                                 .  .
           As much as possnble, lust the claims In alphabetical order according to the creditor 8 name.
                                                                                                                 .                                           Do                                  .,     r     :   ,
                                                                                                                                                                                                                                   1’_
                                                                                                                                                             value   ”camera“        ;
                                                                                                                                                                                             claim:                   :
                                                                                                                                                                                                                              Vifiany,’
i




                                                                                   Describe the property that secures the claim:                             $                               $                            $
             Creditors Name
                                                                                                      _   H                        __   V   w        ,, WW
                                                                               5




             Number               Street                                       1




                                                                                                          ,


                                                                                   As of the date you file, the claim ls: Check all that apply.
                                                                                   CI Contingent
                                                                                   D      Unliquidated
             City                                   State   ZIP Code
                                                                                   D      Disputed

         Who owes the debt? Check one‘                                             Nature of lien. Check a” mat apply.
         D     Debtor      1   only                                                D      An agreement you made (such as mortgage or secured
         El Debtor2            only                                                       car loan)
         D     Debtor      1   and Debtor 2 only                                   D      Statutory lien (such as tax lien, mechanic's lien)
         CI At least one of the debtors and another                                D      Judgment lien from a IBWSU"
                                                                                   C] Other (including a right to offset)
         El Check if this claim relates to                  a
            community debt
         Date debt was Incurred                                                    Last 4 digits of account number __                           __ __ __
£1                                                                                 Describe the property that secures the claim:                             3                               $                            $
            Creditors Name                                                 1




            Number               Street                                    §




                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                   CI Contingent
                                                                                   D      Unliquidated
            City                                    State   ZIP Code
                                                                                   C] Disputed
         Who owes the debt? Check one.                                             Nature of lien. Check             an   that apply.
         D     Debtor      1   ”W                                                  D      An agreement you made (such as mortgage or secured
         D     DebtorZ only                                                               car loan)
         Cl Debtor1 and Debtor               2   only                              D      Statutory lien (such as tax lien, mechanic’s lien)
         D     At least one of the debtors and another                             [I     Judgment lien from a tawsuit
                                                                                   C] Other (including a right to oﬁse!)
         D   Check If this claim relates to                 a
            community debt
         Date debt was incurred                                                    Last 4 digits of account number__                            __ __ __
            Add the dollar value of your entries in Column A on thls page. Write that number here:                                                           EL..____.....               I



    Ofﬁcial Form 106D                                               Schedule D: Creditors Who Have Claims Secured by Property                                                                                page     1       of
                   Case 19-11264-jkf                                  Doc 1         Filed 03/01/19 Entered 03/01/19 12:19:12                                                    Desc Main
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      Fill in this information to identify your case:

                                    Randy                                                   Lucas
         Debtor        1
                                    Fwsl Name                          Mﬂdle Name               Last Name

         Debtor 2
         (Spouse, if ﬁling) First Name                                 Mame Name                Lasl Name


         Unned States Bankruptcy Court for the:                      EASTERN Dismay PENNSYLVANIA
                                                                                                                                                                                        [3 Check if this         is an
         C                   b er
          (55:03:?)                                                                                                                                                                        amended ﬁling


    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                                       12/15

    Be as complete and accurate as possible. Use Part1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
    List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
    A/B: Property (Ofﬁcial Form 106AIB) and on Schedule G: Executory Contracts and Unexpired Leases (Ofﬁcial Form 1066). Do not include any
    creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space ls
    needed, copy the Part you need, fill it out, number the entrles in the boxes on the left Attach the Continuation Page to this page. On the top of
    any additional pages, write your name and case number (if known).


m
i
     1.

                   No.
                                List All of Your PRIORITY Unsecured Claims
             Do any creditors have priority unsecured claims against you?
                                Go to Part 2.
             EYes.
     2.      Llst all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
             each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
             nonprlority amounts. As much as possible, Us! the claims in alphabetical order according to the creditor’s name; If you have more than two priority
             unsecured claims. ﬁll out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
                 (For an explanation of each type of daim. see the instructions for this form in the instruction booklet.)                                              ,                               ‘    ,     ,   '
                                                                                                                                                                                                "
                                                                                                                                                          191a] claim
                                                                                                                                                                ' "
                                                                                                                                                                            :
                                                                                                                                                                                    Priority            M’pﬁiorlty
                                                                                                                                                      f I     f       _         :   «amount     ,       amount
    21
             l
                  Pnorlty Creditors Name
                                                                                       Last4 digits of account number        __ __ __ __              5                         $                   $


                                                                                       When was the debt incurred?
                  Number                 Street

                                                                                       As of the date you file, the claim is: Check all that apply

;                 City                                       State      ZIP Code
                                                                                       D    contingent
{
                                                                                       El Unliquidated
                  Who Incurred the debt? Check one.
                                                                                       Cl Disputed
                  D        Debtor1 only
                  G        Debtor   2   only                                           Type of PRIORITY unsecured claim:
                           Debtor   1   and    Dem” 2 only                             D    Domestic support obligations                                                                                                   :



                  a At least one           Of   the debtors and ano‘her
                                                                                       D    Taxes and cenain other debts you owe the government
                  D        Check ’f this claim Is for a community debt                 [3   Claims for death or personal injury while you were                                                                             ,




                  Is the claim subject to offset?                                           ‘ntox'ca'ed

                  El       No                                                          D    Other‘ Specify
                                                                                                                                                                                                                           A




                  D        Yes

[2‘2         I
                  Priority Creditors Name
                                                                                       Last4 digits of account number        _ __ _ _                 $                             5               5

                                                                                       When was the debt incurred?
                  Number                 Stram                                                                                                                                                                             j

                                                                                       As of the date you file, the claim Is: Check all that apply‘                                                                        g




                                                                                       Cl Contingent                                                                                                                       ‘

                                                                                                                                                                                                                           1




                  City                                       State      ZIP Code       CI Unliquidated                                                                                                                     ;




                  Who Incurred the debt? Check one.                                    D Disted
                  D        Debtor1 only
                                                                                       Type of PRIORITY unsecured claim:
                  El       Debtor 2 only
                                                                                       CI Domestic support obligations
                  Cl Debtor1 and Debtor 2 only
                  D                                                                    [3   Taxes and certain oiher debts you owe the government
                           A‘ least one of the debtors and another
                                                                                       Cl Claims for death or personal injury while you were
                  D        Check if this claim Is for a community debt                      intoxicated
                  Is the claim subject to offset?                                      Cl Other. Specify
                  D        No
                  0 Y9:
    Ofﬁcial Form 106E/F                                                         Schedule EIF: Creditors Who Have Unsecured Claims                                                            page   1       of__
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                                                                            Document      Page 24 of 39
                       Randy                               Lucas


m
    Debtor   1                                                                                                                 Case number      (/fknowm
                       FIrs\ Name         Mtddle Name            L215!   Name


                       Your PRIORITY Unsecured Claims                           -—   Continuation Page
                                                                                                                                                                                                  '
    After listing any entries on this page, number them beglnnlng with 2.3, followed by 2.4, and so forth.                                                     Tetalciaim           Primity               'Nouprlority
                                                                                                                                                               '
                                                                                                                                                                   :
                                                                                                                                                                            "
                                                                                                                                                                                    ,a‘mogr‘i’t       7    amount   7
                                                                                                                                                                                                                         §




‘




         Pnority Creditors Name
                                                                                 Last4 digits of account number               _ _ _ __                     $                    $                         $              }


                                                                                                                                                                                                                         1




                                                                                                                                                                                                                         ,


                                                                                 When was.the debt Incurred?
         Number                Street

                                                                                 As of the date you ﬁle, the claim ls: Check all that apply.

                                                                                 D     Contingent
         City                                     same     Zip Code              C] Unliquidated
                                                                                 D     Disputed
         Who Incurred the debt? Check one.
         Cl Debtor        1   only                                               Type of PRIORITY unsecured claim:
         D       Debtor 2 only
                                                                                 G     Domestic suppon obligations
         El Debtor 1 and Debtor 2 only                                                                  .
                                                                                 E] Taxes and       certaun other debts you owe the government
         D       At least one of the debtors and another
                                                                                 D        ‘                           .   .        .

                                                                                       Clatms for death or personal Injury whne you were
                                                                                       Intoxmated
         Cl Check if this claim is for a community debt
                                                                                 C] Other‘ Specify
         is the claim subject to offset?
         D       No
         D       Yes




         Pnon'ty CFBUIIOF'S Name
                                                                                 Last 4 digits of account number              _ __ _ _                     5                    $                         5



                                                                                 When was the debt Incurred?
         Number                Street

                                                                                 As of the date you file. the claim [5: Check all that apply,

                                                                                 D     Contingent
         Cny                                      State    ZIP Code              U     Unliquidated
                                                                                 El Disputed
         Who Incurred the debt? Check one.                                                    .

         D       Debtor1 only                                                    Type of PRIORITY unsecured claim:
         D       Debtor 2 only
                                                                                 D     Domestic support obligations
         D       Debtor   1   and Debtor 2 only
                                                                                 D                      .
                                                                                       Taxes and canaln other debts you owe the governmem
         D       At leas1 one of the debtors and another
                                                                                 D        .                           ‘
                                                                                                                      a
                                                                                                                          ,        .
                                                                                       Clalms for death or personal nUW while you were
         CI Check if this claim Is for a community debt                                Intoxicated
                                                                                 CI Other. Specify
         Is the claim subject to offset?
         0       No
         D       Yes



         Priority Creditors Name
                                                                                 Last 4 digits of account number              __       _ _ __              $                    $                         5


                                                                                 When was- the debt Incurred?
         Number                Street

                                                                                 As of the date you file, the claim is: Check            an that apply,

                                                                                 D    Contingent
         City                                     State    ZIP Code              D    Unliquidated
                                                                                 El   Disputed
         Who Incurred the debt? Check one,
         D       Debtor1 only                                                    Type of PRIORITY unsecured claim:
         D       Debtor 2 only
                                                                                 D    Domestic support obligations
         C] Debtor        1   and Debtor 2 only
                                                                                 U    Taxes and certain other debts you owe the government
         D       At least one of the debtors and another
                                                                                 CI Claims for death or personal injury while you were
         CI Check If this claim is for a community debt                               intoxicated
                                                                                 D    Otherv Specify

         Is the claim subject to offset?
         [3      No
         D       Yes


Ofﬁcial Form 106E/F                                               Schedule EIF: Creditors Who Have Unsecured Claims                                                                                       page   _ of __
                   Case 19-11264-jkf                                    Doc 1            Filed 03/01/19 Entered 03/01/19 12:19:12                                            Desc Main
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    Debtor         1              Randy                                   Lucas                                                 Case number    (Ifknown)




m
                                  First Name              Middle Name            Last Name



                             List All of Your NONPRIORITY Unsecured Claims

        A; any               creditors have nonprioriw unsecured claims against you?
    3.“.2}
               ~
                       No. You have nothing to report in this part. Submit this form to the court with your other scheduies‘
         {12] Yes

    4.   List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
             nonpriority unsecured daim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
             included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
             claims ﬁll out the Continuation Page of Part 2.

                                                                                                                                                                                         79WP'FW
:I
4   1
                   A‘“
                    . .
                        gon         Agency Pcco
              Nonprionty Creditor‘s Name
                                                                                                         Last 4 digits of account number          _ __ __ __                         3    2507
               8668 Spring Mtn Rd                                                                       When was the debt incurred?                  09/26/2018
              Number                     Street
               Las Vegas NE 89117
              C|ty                                                           State           ZIP Code   As of the date you file, the claim is: Check            an   that apply.

                                                                                                         CI Contingent
              Who incurred the debt? Check one‘                                                          L]   Unliquidated
              ﬂ Debtor              1   only                                                             C] Disputed
              D         Debtor 2 onfy
              CI Debtor             1   and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
              [3        At least one of me debtors and another                                           D    Studem loans

              D         Check if this claim is for a community debt                                      D    Obligations arising out of a separation agreement or divorce
                                                                                                              than you did not repon as priority claims
              ‘5 the claim              $1de to offset?                                                  C] Debts    1o   pension or profit-sharing plans, and other similar debts
                        No                                                                               [Z   Other. Specify     Utilitv
              D         Yes


4'2                                                                                                      Last 4 digits of account number           ____ m__     __ __                S    2763
         I     Acceptance Now
              Nonprion‘ty Creditors Name                                                                When was the debt incurred?                   12/31/2017
               5501          Headwarters
              Number                     Street
                                                                                                        As of the date you file, the claim is: Check all that appfy‘
                   Plano TX 75024
              City                                                           State           Z|F Code
                                                                                                         D    Contingent
              Who incurred the debt? Check one,                                                          D    Unliquidated

              é Debtor                                                                                   Cl   D'SPU‘Ed
                                    1   only
              D         Debtor 2 only                                                                                                                       .

              C] Demo” and Debtor 2 only
                                                                                                        Type of NONPRIORITY unsecured claim:
              C] At least one of the debtors and another                                                 D    Student loans
                                    .         .            .                 .                           D    Obligaﬁons arising out of a separaﬁon agreement or divorce
              :1 Check If this claim                  _

                                                           13   for a community debt                          that you did not report as priority claims
              Is the claim              subject to Offset?                                               C] Debts to pension or proﬁt—sharing plans, and other similar debts

              9]        No                                                                               a    Other‘ Specify    Rental Agreement
              D         Yes

4 .3                          .           .
         I    American First Finance
              Nonpriority Creditor‘s Name
                                                  .
                                                                                                        Last 4 digits of account number            _____   m __ ___                  $    700
                                                                                                        When was the debt incurred?                    11/17/17
               3515 N Ridge Rd
              Number                     S‘reex

               Wichita KS 67205                                                                         As of the date you file, the claim is: Check all that apply‘
              City                                                           State           ZIP Code

                                                                                                         D    Contingent
              Who incurred the debt? Check one
                                                                                                         D    Unliquidated
              if)       Debtor1 only
                                                                                                         CI Disputed
              D         Debtorz only
              Cl Debtor1 and Debtor                       2 only
                                                                                                        Type of NONPRIORITY unsecured claim:
              D        At least one of the debtors and another
                                                                                                        E] Student loans
              [:1 Check             if this claim is for a community debt                                D    Obligations arising out of a separation agreement or divorce
                                                                                                              that you did not report as priority claims
              Is the claim subject to offset?
                                                                                                        El    Debts to pension or profit-sharing plans, and other similar debts
              {21 No
              D        Yes
                                                                                                        9     Other, Specify    Rental Agreement



Ofﬁcial Form 106E/F                                                               Schedule EIF: Créditors Who Have Unsecured Claims                                                         page __ of
               Case 19-11264-jkf                                 Doc 1          Filed 03/01/19 Entered 03/01/19 12:19:12                                           Desc Main
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     Debtor    1           Randv                                 Lucas                                                     Case number (erown)
                           First Name              Middle Name          Last Name




                          Your NONPRIORITY Unsecured Claims                             —   Continuation Page


     After IIstlng any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                        Iatalc’lalm




§
    El        Bobs Discount Furniture
              Nonpn‘omy Creditors Name

              Po Box 14517
              N um b N

               Des Moines
                                   51 me t

                                     IA 50306
                                               ‘
                                                                                                       L as t4d''9 its   of acco untnumbe r

                                                                                                       When was the debt incurred?            w
                                                                                                                                              ——




                                                                                                       As of the date you file, the claim is: Check
                                                                                                                                                     —-   ——


                                                                                                                                                          all that apply.
                                                                                                                                                                               s 3391




              City                                                   State          ZIP Code           El Contingent
                                                                                                       CI Unliquidated
              Who incurred the debt? Check one‘                                                        C] Disputed
              é Debtor1 only
              D      Debtor 2 onty                                                                     Type of NONPRIORITY unsecured claim:
                     Debtor1 and Debtor 2 only                                                         D   Student loans
              a At Ieasi one Of the debtors and another                                                D  Obligations arising out of a separation agreement or divorce that
                                                                                                          YOU d'd ”01 rapart as pnorrly clélms
              D      Check If this claim Is for a community debt                                                                                              ‘        ~


                                                                                                       CI Debts to pensmn or proﬁt-shanng plans, and other Similar debts
              Is the claim subject to offset?                                                          a   Other. Specify    Rental Agrggment
              ﬂ No
              D      Yes



    4'5                                                                                                                                                                                          ‘




              Collection Service / Progessiv
                                                                                                       Last 4 di g Its of account numbe r     —           '— —                 $——~
                                                                                                                                                                                224
              Nonprionty Credimfs Name

              Po Box 607
              N ”m be r            s: ”as t
                                                                                                       When was the debt Incurred?            _—   07/13/2017


                                                                                                       A5 of the date you ﬁle, the claim ls: Check all that apply,
               Norwood MA 02062
              City                                                   State          ZIP Code           CI Conﬁngent
                                                                                                       El Uniiquidated
              Who incurred the debt? Check one.                                                        C] Disputed
              é Debtor1 only
              El Debtor2          only                                                                 Type of NONPRIORITY unsecured claim:
                     Debtor1 and Debtor 2 only                                                         CI Student loans
              a At “535' one          Of   the debtors and another
                                                                                                       D   Obligations an'sing out of a separation agreement or divorce that

              Cl Check if this claim Is for a community debt
                                                                                                           y°” d'” ”m “a?“ as     “my dé'ms                        ‘   ,
                                                                                                       D   Debts to penSIon or proﬁt-shanng plans, and other sumllar debts
              Is the claim subject to offset?                                                          a   Other, Specify     Ath Insurangg
              Z!     No
              CI Yes


    4.6   I

               Lvnv Funding/ Finger Hut
              Nonprion’ty Creditor‘s Name
                                                                                                       Last 4 digits of account number        _                                s    232


                                                                                                       When was the debt Incurred?                 01/01/2016
              Po Box 1269
              Number               Street
                                                                                                       As of the date you ﬁle, the claim is: Check all that apply.
               Greenvillc. SC 29603
              City                                                   State          ZIP Code           D   Contingent
                                                                                                       D   Unliquidated
              Who incurred the debt? Check one.                                                        D   Disputed
                     Debtor1 only
              D      Debiorz only                                                                      Type of NONPRIORITY unsecured claim:
              D      Debtor   1   and Debtor 2 only
                                                                                                       D   Student loans
              D      At leas1 one of the debtors and another
                                                                                                       CI Obligations arising out of a separation agreement or divorce that
                                                                                                           you did not report as priority claims
              Cl Check if this claim [5 for a community debt
                                                                                                       C] Debts to pension or proﬁt-sharing plans, and other similar debts
              Is the claim subject            to offset?                                               G   Other. Specify    Credit Card
                     No
              D      Yes




    Ofﬁcial Form 106E/F                                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                     page     _ of __
             Case 19-11264-jkf                            Doc 1             Filed 03/01/19 Entered 03/01/19 12:19:12                     Desc Main
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    Debtor   1
                    Randy                                   LUCaS                                              Case number   (/fknown)
                   First Name            Middle Name            Last Name




m   6.
                 Add the Amounts for Each Type of Unsecured Claim


         Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
         Add the amounts for each type of unsecured claim.




                                                                                                          Total claim


                    6a Domestic
                           .               support ob II gations                            6a    .
                                                                                                               0
    Total claims                                                                                          5
    from Part 1
                    6b. Taxes and certain other debts you owe the
                               government                                                   6b.           $    0

                    6a Claims for death or personal injury while you were
                       intoxicated                                                          6c.
                                                                                                               0
                                                                                                          3

                    6d Other.          Add all other priority unsecured claims‘
                               Write tha‘ amount here.                             ‘        6d.       +$       0




                     69. Total. Add lines          621   through 6d.                        6e.
                                                                                                          $
                                                                                                               0




                                                                                                          Total claim

                     6f.       Student loans                                                6f.
‘


    Total claims                                                                                           3       0
    from Part 2                                        of a separation agreement
                     69. Obligatlons arising out
                               or divorce that you did not report as priority
                               clalms                                                       69‘            $       0

                     6h. Debts to pension or proﬁt-sharing plans, and‘other
                         similar debts                                                      6h.           $        0

                     6L Other. Add all other nonpriority unsecured claims,
                               Write that amount here.                                      6i.       +    3       31636



                     6].       Total. Add lines 6f through 6i.                              6j‘
                                                                                                           $       31636




    Ofﬁcial Form 1OGE/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                             page   _ of__
             Case 19-11264-jkf                                     Doc 1                 Filed 03/01/19 Entered 03/01/19 12:19:12                                                        Desc Main
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Debtor   1                   Randv                                   Lucas                                                        Case number    (I! known)
                         First Name                  Middle Name             Lask Name




                        Your NONPRIORITY Unsecured Claims                                     —   Continuation Page


After Ilstlng any entries on this page. number them beginning with 4.4, followed by 4.5, and so forth.                                                                                               Total claim



E        Peco
      Nonpnon‘ty Creditors Name
                                                                                                             Last 4 digits of account number               _ _ _ __                                  $   3500

                                                                                                             When was the debt incurred?                      09/16/2018
         2200 Market St
      N um'er
          D                           St me I
                                                                                                             As of the date you file. the claim            £5:   Check all that apply‘
                                  _

         Phlladephla PA 19106
      City                                                                State           ZIP Code           D     Contingent
                                                                                                             El    Unliquidated
      Who Incurred the debt? Check one.                                                                      CI Disputed
      é Debtor1 only
         Cl Debtorz only                                                                                     Type of NONPRIORITY unsecured claim:
                Debtor1 and Debtor2 only                                                                     CI Studem loans
         a At least one Of the debtors and another                                                           CI Obligations arising out of a separation agreemem or divorce that
                                                                                                                   YO“ did "01 “EEO“ as pnomy clélms
         Cl Check if this claim Is for a community debt
                                                                                                             D
                                                                                                                                                                                 V           4


                                                                                                                   Deb'ts to pensmn or proﬁt-shanng plans, and other svmllar debts
         Is the claim                 subject to offset?                                                     {Z Other, Specify        Utilig:
         w      No
         D      Yes



“Q                  .
         Reglonal Acceptance
         Nonpriority Creditors Name
                                                                                                             Last 4 digits of account number               —
                                                                                                                                                              05/20/2017
                                                                                                                                                                         —    —“                         *—
                                                                                                                                                                                                     s 3000
                                                                                                                                                                                                                          f




                              .
                                                                                                             When was the debt incurred?
         1424 E Flrc Tower Rd
         N um be r                    St me 1
                                                                                                             As of the date you file, the claim Is: Check all that apply,
         Greenvile NC 27858
         my                                                               State           ZIP Code           C] Contingem
                                                                                                             El Unliquidated
         Who incurred the debt? Check one‘                                                                   D     Disputed
      é Debtor1 only
         Cl Debtor            2 only                                                                         Type of NONPRIORITY unsecured claim:
                Debtor        1   and Debtor 2 only                                                          D     Student loans
         a A‘ least one                  Of     the debtors and another                                      D  Obligations arising out of a separation agreement or divorce that
                                                                                                                you d'd 00" “390“ as Pnomy clfalms
         Cl Check if this claim is for a community debt                                                                                                                ‘             ,

                                                                                                             CI Debts to pensuon or proﬁt-sharing plans. and other svm1lar debts
         Is the claim subject to offset?                                                                     a     Other‘ Specify     Al!!!) ligan
         ZI     No
         D      Yes


4'9
                                                                                                                 ”t 4 dl                                                                             $111“—
                .
         Trident Asset Mat/Verizon
                                                           .                                                 L             9 I ts 0 f ac co u n mum b er      — —‘ — —
         Nonpn‘on‘ty Creditor‘s Name

         53
                         .
                Perimeter Ctre East Ste 440
                                                                                                             When was the debt Incurred?                      M01;
         N um b er                    St me t
                                                                                                             As of the date you file, the claim Is: Check all that apply‘
         Atlanta GA 30346
         City                                                             State           ZIP Code           [3    Contingent
                                                                                                             CI Unliquidated
         Who Incurred the debt? Check one.                                                                   D     Disputed
         ﬁ Debtor1 only
         CI Debtor 2 only                                                                                    Type of NONPRIORITY unsecured cIaim:
            Debtor1 and Debtorz only                                                                         D     Student loans
         a At least one Of the debtors and another                                                           D     Obligations arising out of a separaiion agreement or divorce that
                                                                                                                   3’0“ M ”01 fePOﬂ as priority Clélms
         Cl Check if this claim Is for a community debt                                                                                                                                  ,       .

                                                                                                             D     Debts to penscon or proﬁtvshanng plans, and other sumllar debis
         Is the claim                 subject to offset?                                                      m    Other, Specify     Cable
         é      No
         D      Yes




Ofﬁcial Form 106E/F                                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                                      page   6__   of 7_
          Case 19-11264-jkf                                Doc 1         Filed 03/01/19 Entered 03/01/19 12:19:12                                             Desc Main
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 Debtor   1          Randy                                  Lucas                                                 Case number   Ulknown)
                     First Name              Mpddle Name         Las‘ Name



                    Your NONPRIORITY Unsecured Claims                            —   Continuation Page


 After llstlng any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                      Total claim


4.10
          Vanguard
       Nonprion’ty Creditors Name
                                                                                                          .
                                                                                                Last 4 digits of account number            _ _ __                        $    6500

                                         _
                                                                                                When was the debt Incurred?                03/2016
          455 Devon Park Drive
       N “m be r            St "’9 t
                                                                                                As of the date you file, the claim is: Check         all that apply.
          Wayne PA 19087
       City                                                   State          ZIP Code           El Contingent
                                                                                                El Unliquidated
       Who Incurred the debt? Check one.                                                        D    Disputed
       é Debtor1 only
       Cl Debtor       2 only                                                                   Type of NONPRIORITY unsecured claim:
              Debtor1 and Debtor 2 only
       Ell
                                                                                                G    Smdent loans
              A‘ leas‘ one     Of   the debtors and another
                                                                                                D    Obligations arising out of a separation agreement or divorce that
                                                                                                     YOU dld not rayon as pnomy clgms
       Cl Check if this claim is for a community debt
                                                                                                D                                                        '  ‘
                                                                                                     Debts to pensuon or proﬁt-shanng plans, and other Similar debts
       Is the claim subject to offset?                                                                                    K Lgans
                                                                                                @ O‘her. Specify 491
       ﬂ No
       D      Yes



4.1]
          Wells Fargo
       Nonprion'ty Creditors Name
                                                                                                Last 4 di 9 its of account number          _ — —' "‘                     $    3500

                                                                                                                                           02/2017
                                                                                                When was the debt Incurred?
          420 Montgomery St
       N umber              St "39 t
                                                                                                As of the date you file, the claim is: Check all mat apply.
       in Francisco CA
       City
                                        94104
                                                              State          ZIP Code           CI Contingeni
                                                                                                CI Unliquidated
       Who incurred the debt? Check one‘                                                        C] Disputed
       é Debtor1 only
       C] Debtor 2 only                                                                         Type of NONPRIORITY unsecured claim:
       D      Debtor   1   and Debtor 2 only
                                                                                                D    Student loans
       D      A‘ least one ofthe debtors and another
                                                                                                D    Obligations arising out of a separation agreement or divorce that
       El Check if this claim is for a community debt
                                                                                                     you N    ,             ,          .
                                                                                                             no t reﬁned as pnon.‘ y calms
                                                                                                                                   I

                                                                                                                                                         ‘       ,
                                                                                                El   Debts to pensuon or proﬁt-shanng plans, and other Similar debts
       Is the claim        subject to offset?                                                   @ Other, Specify      Cmdit Cars!
       Z!     No
       D      Yes


_J                                                                                              Last 4 digits of account number            __   ___                      $


       Nonpriority Creditors Name
                                                                                                When was the debt incurred?
       N um I: er          St me t
                                                                                                As of the date you ﬁle, the claim Is: Check all that apply‘

       City                                                   State          ZlP Code           B    Contingent
                                                                                                Cl Unliquidated
       Who Incurred the debt? Check one.                                                        C] Disputed
       D      Debtor1 only
       C] Debxorz only                                                                          Type of NONPRIORITY unsecured claim:
       C] Debtor 1 and Debtor 2 only
                                                                                                Cl Student loans
       D      At least one of the debtors and another
                                                                                                D    Obligations an'sing out of a separation agreement or divorce that
                                                                                                     you did not report as priority claims
       D      Check If this claim is for a community debt
                                                                                                Cl Debts ‘0 pension or proﬁt-sharing plans, and other similar debts
       Is the claim        subject to offset?                                                   D    Other‘ Specify
       CI No
       CI Yes




Ofﬁcial Form 106E/F                                               Schedule EIF: Creditors Who Have Unsecured Claims                                                      page 7_ of 7_
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 Fill in this information to identify your case:

  Debtor         Randy                                                 Lucas
                       First Name                    MIddie Name           Last Name

  Debtor   2
  (Spouse If ﬁling)    First Name                    Middle Name           Lasl Name


  United States Bankruptcy Coun for the: EASTERNDismct of             PENNSYLVANIA

  Case number
  ("know”)                                                                                                                                    El Check if this   is an
                                                                                                                                                 amended ﬁling


Official Form 106G
Schedule G: Executory                                              Contracts and Unexpired Leases                                                            12/15

Be as complete and accurate as possible. If two married people are ﬁling together, both are equally responsible for supplying correct
information. If more space Is needed, copy the additional page, ﬁll it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (If known).

 1.    Do you have any executory contracts or unexpired leases?
           1




       END.      Check this box and ﬁle this form with the court with your other schedules. You have nothing else to report on this form.
       ngYes.         Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Ofﬁcial Form 106MB).

 2.    List separately each person or company with whom you have the contract or lease. Then state what each contract or lease Is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.



       Person or company with whom you have the contract or lease                                   State what the contract or lease Is for


2.1;

       Name


       Number             Street


       City                                  State         ZIP Code

2.2:

       Name


       Number             Street


       City                                  State        ZIP Code

2.3;

       Name


       Number            Street


       City                                  State        ZIP Code

2.41

       Name


       Number            S(reet


       City                                  State        ZIP Code

2.5;
       Name


       Number            Street


       City                                 State         ZIP Code


Ofﬁcial Form 106G                                    Schedule G: Executory Contracts and Unexpired Leases                                         page   1   of—
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  -
  Debtor




  26
            1        Randy
                    First Name     Middle Name
                                                         Lucas
                                                             Las! Name




                    Additionai Page if You Have More Contracts or Leases

           Person or company with whom you have the contract or lease



           Name
                                                                                                     Case number   (zflmcwn)




                                                                                                  What the contract or lease is for




           Number         Street


           City                                  State      Z!P Code

  2.7:

           Name


           Number        Street


           City                                  State      ZIP Code


  2:8;

           Name


           Number        Street


           City                                  State      ZIP Code


  2.9;

           Name


           Number        Street


           City                                  State      ZIP Code


  2,1of

           Name


           Number        Street


           City                                  State      ZIP Code


  2.11:

           Name


           Number        Street


           Ci‘y                                  State      ZIP Code


  2.312?


           Name


           Number        Sheet


           City                                  State      ZIP Code


  213:

           Name


           Number        Street


           City                                  State      ZIP Code




Ofﬁcial Form 106G                                        Schedule G: Executory Contracts and Unexpired Leases                             page   _ of_
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  Fill in this information to identify your case:

  Debtor     1                RBde                                                           Lucas
                                   First Name                     Middie Name                    Last Name

  Debior 2
  (Spouse.       If   ﬁling) ﬁrst Name                            Middle Name                    Last Name


  United States Bankruptcy Court                          fortheEASTERN       Distn‘ct of   PENNSYLVANIA

  Case number
  (If known)
                                                                                                                                                                            Cl Check if this    is an
                                                                                                                                                                               amended ﬁling

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                                   12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are ﬁling together, both are equally responsible for supplying correct fnfon'nation. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

  1.   Do you have any codebtors? (If you are ﬁling a joint case, do not list either spouse as a codebtor.)
       Ca No

       CI Yes
  2.   Within the last 8 years, have you lived in  a community property state or territory? (Community pmperty states and territories inc|ude
       Arizona, California, Idaho. Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and VWsconsin.)
       D      No. Go to line 3.
       Cl Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              DNo
              Cl Yes. In which community state or territory did you live?                                                      .   Fill in the name and current address of that person.



                              Name of your spouse. former spouse, or legal equivalent



                              Nurn bar            Street



                              City                                              State                             ZIP Code


 3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor If your spouse is ﬁling with you. List the person
        shown in line 2 again as a codebtor only if that person Is a guarantor or cosigner. Make sure you have listed the creditor on
        Schedule D (Ofﬁcial Form 106D), Schedule E/F (Ofﬁcial Form 106EIF), or Schedule G (Official Form 1066). Use Schedule D,
       Schedule HP, or Schedule G to fill out Column 2.

           Column 1: Your codebtor                                                                                                       Column 2: The creditor to whom you owe the debt

                                                                                                                                          Check all schedules that apply:

3          Name
                                                                                                                                          El Schedule   D, line   ——                                     ‘

                                                                                                                                                                                                         ‘




                                                                                                                                          CI Schedule E/F, line                                      }




           Number                        Streex
                                                                                                                                          D   Schedule G, line

       _
           CW         ,   _    _                      _    H        _,   _,
                                                                                   State             ,   .   ,_    ZIP   CD“
 3.2
                                                                                                                                          CI Schedule D, line __..____
           Name
                                                                                                                                          El Schedule E/F. line
           Numb”                         5"“                                                                                              Cl Schedule G, line

           City                                                                    State                           ZIP Code

3.3
           Name
                                                                                                                                          CI Schedule D, line     ——
                                                                                                                                          CI Schedule E/F, line
           Number                        Street
                                                                                                                                          D   Schedule G. line

           City           ‘
                                                                                   State                           ZIP Code



Ofﬁcial Form 106H                                                                            Schedule H: Your Codebtors                                                         page   1   of___~
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 -
 Debtor




  3._
 :1
             1         Randy
                      First Name      Middle Name
                                                    Lucas
                                                        Lam Name




                      Additional Page to List More Codebtors

            Column 1: Your codebtor
                                                                                                   Case number   [/fknown)




                                                                                                        Column 2: The creditor to whom you owe the debt

                                                                                                        Check all schedules that apply:

                                                                                                         D   Schedule D. line ~———
            Name
                                                                                                         El Schedule E/F. line
            Number           Street                                                                      Cl Schedule G, line


            City                                              State                   ZIP Code


 a          Name
                                                                                                         El Schedule D, line
                                                                                                         El ScheduIe E/F, line
            Number           Street                                                                      CI Schedule G, line


        ,,,_C|tx,,_                                         “MUSE?”                 WZIP Gode


 a          Name
                                                                                                         CI Schedule D, line
                                                                                                         Cl Schedule E/F, line

            Number           Street                                                                      D   Schedule G, line


            City                                              State                   ZIP Code



 a          Name
                                                                                                         El Schedule D, line
                                                                                                         El Schedule E/F. line

            Number           Street                                                                      Cl Schedule G, line


        _
            C"!                                              State                    ZIP Coqg


 a          Name
                                                                                                         Cl Schedule D, line         W
                                                                                                         CI Schedule E/F. line

            Number           Street                                                                      Cl Schedule G, line


            City                                              State                   ZIP Code


 a          Name
                                                                                                         Cl Schedule D. line         —
                                                                                                         El Schedule BF, line

            Number           Street                                                                      D   Schedule G, line


            City                                              State                   ZIP Code                               ¥   A


 a          Name
                                                                                                         CI Schedule D, line
                                                                                                         El Schedule E/F, line
            Number           Street                                                                      D   Schedule G, line


            City                                              State                   ZIP Code
 E]
            Name
                                                                                                         El Schedule D, line         ——
                                                                                                         C] Schedule E/F. line

            Number          Street                                                                       CI Schedule G, line


            City                                              State                   ZIP Code




Ofﬁcial Form 1OBH                                                     Schedule H: Your Codebtors                                          page   _   of ___
              Case 19-11264-jkf                 Doc 1           Filed 03/01/19 Entered 03/01/19 12:19:12                                                  Desc Main
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     Fill in this information to identify your case:


     Debtor      1
                          Randy                                     Lucas
                          First Name             Middle Name            Las| Name

     Debtor 2
     (Spouse, If ﬁling)   Fwat Name              Middle Name            Las‘ Name


     United States Bankruptcy Court for the:   EASTERN Distn‘cmf   PENNSYLVANIA

     Case number                                                                                                           Check if this is:
                                                                           ‘
         (If known)
                                                                                                                           CI An amended ﬁling



    Ofﬁcial Form 106|
    Schedule I: Your Income
                                                                                                                                 W
                                                                                                                           CI A supplement showing postpetition chapter 13
                                                                                                                              income as of the following date:




    Be as complete and accurate as possible. If two married people are ﬁling together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                                                                                                                             12/15


    supplying correct information. If you are married and not ﬁling jointly, and your spouse is living with you, Include information about your spouse.
    If you are separated and your spouse Is not ﬁling wlth you, do not Include information about your spouse. If more space is needed, attach a
    separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


    m
    1‘
                          Describe Employment

           Fill in your employment
                                                                                Debtor                                                      Debtor 2 or non-filing spouse
           Information.                                                                          1


           If you have more than one job,
           attach a separate page with
                                                                                                                                            E
                                                                                  «




           information about additional        Employment status               gEmployed                                                           Employed
           employerst                                                          I: Not employed                                              E      Not employed

           Include part~time, seasonal, or
           self-amp by ed work.
                                               Occu p atlon               Research analyst
                                 ,
           Occupation may Include student
           or homemaker, if it applies.
                                               Employer's name            Amerihcalth caritas
                                                                          1_00        Stevens        Dr
                                               Employer's address
                                                                           Number               Street                                   Number       Streei




                                                                           City                           State       ZIP Code           City                     Stake   ZIP Code

                                               How long employed there?               5   years



    m                     Give Details About Monthly Income

           Estimate monthly income as of the date you file this form.
           spouse unless you are separated.
                                                                         If_   you have nothing to report for any line, write $0 in the space. Include your non-ﬁling

           If you or your non-ﬁling spouse have more than one employer, combine the information for all employers for that person on the lines
           below. If you need more space. attach a separate sheet to this form.

                                                                                                                      For Debtor   1      For Debtor 2 or
                                                                                                                                          non-ﬁling spouse
-
     2.     List monthly gross wages, salary, and commisslons (before all payroll
            deductions). If not paid monthly, calculate what the monthly wage would be.                   2‘
                                                                                                                       318]
                                                                                                                  $                            $

}
     3.     Estimate and list monthly overtime pay.                                                       3.   +$     0                 +      3



1
     4.     Calculate gross income. Add line 2    +   line 3‘                                             4‘      $   3181                     $




Ofﬁcial Form 106!                                                    Schedule             I:   Your Income                                                                page   1
              Case 19-11264-jkf                               Doc 1                Filed 03/01/19 Entered 03/01/19 12:19:12                                                            Desc Main
                                                                                   Document      Page 35 of 39

Debtor        1          Randy                                   Lucas                                .                                      Case number      (ofknown)
                        Fwsl Name            Middle Name                Las\ Name




                                                                                                                                       For Debtor         1               For Debtor 2 or
                                                                                                                                                      V
                                                                                                                                                              .   .       “ngmgyouse
          Copy line 4 here ..............................................................................................   -) 4.      $     3181                             $


    5.    List all payroll deductions:

           5a. Tax, Medicare, and Social Security deductions                                                                   5a.     :1;   740                              5

           5b. Mandatory            contributions for retirement plans                                                         5b.     $     6                                $

           50‘ Voluntary         contributions for retirement plans                                                            5c.     $     0                                $

           5d. Required repayments of retirement fund loans                                                                    5d.     $     153                              $

           5e. Insurance                                                                              ~
                                                                                                                               5e.     $     360                              $

           5f.    Domestic support obligations                                                                                 5f.     50                                     $

           59. Union dues                                                                                                      59.     $0                                     55



           5h. Other deductions. Specify: 4.00 donations UW                                                                    5n + $ 0                                   +   g;


     6.    Add the payroll deductions. Add lines 53                          +   5b +   BC +   5d + 5e +5f + 59 + 5h.          6.      $      1259                            $


     7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                  7.     $     1922                             $


i
    8,     List all other income regularly received:
           8a. Net income from rental property and from operating a business,
                  profession, or farm
                  Attach a statement for each property and business showing gross
                  receipts, ordinary and necessary business expenses, and the total
                                                                                                                                       $ 0                                    $
                  monthly net income,                                                                                          8a.
            8b. Interest and dividends                                                                                         Bb‘     $      0                               $

            8c. Family   support payments that you,                      a   non-filing spouse, or a dependent
                  regularly receive
                  Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                       5 0                                    $
                  settlement. and property settlement.                                                                         8c
           8d. Unemployment compensation                                                                                       8d.     $ 0                                    $
            Be.   Social Security                                                                                              8e.     3;     0                               5

            8f. Other      government assistance that you regularly receive
                  Include cash assistance and the value (if known) of any non-cash assistance
                  that you receive, such as food stamps (beneﬁts under the Supplemental
                  Nutrition Assistance Program) or housing subsidies.       .
                  Specify: 0                                                                Bf.                                        $0                                     $

            89. Pension        or retirement income                                                                            89.     $ 0                                    3;


            8h‘ Other monthly income. Specify: 0 0                                                                             8h.    +$ 0                                +$
     9.    Add all other income. Add lines 8a                    + 8b + BC + 8d + Se +            8f +89   +   8h.              9.     $ 0                                    S


    10.   Calculate monthly income. Add line 7 + line 9.
          Add the entries in line 10 for Debtor 1 and Debtor 2 or                          non—ﬁling spouse.                    10.    $ﬂ2——~—~ +                             5                   "
                                                                                                                                                                                                  _   $1922


    11.   State all other regular contributions to the expenses that you list in Schedule J.
          Include contributions from an unmarried panner, members of your househotd. your dependents, your roommates, and other
          friends or relatives.
           Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

          Specify: 0                                                                                                                                                                        11.   +   $ 0

‘12, Add the       amount in the last column of line 10 to the amount in line 11. The result is ”we combined monthly income.
‘

          Write that amount on the Summaly of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                                12.       5.1%....
                                                                                                                                                                                                      Combined
                                                                                                                                                                                                      monthly income
i
     13.   Do you expect an increase or decrease within the year after you file this form?
           E21 No.

           m      Yes. Explain:



Ofﬁcial Form 1061                                                                                Schedule I: Your Income                                                                                page 2
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      Fill in this information to identify your case:

       Debtor   1
                           1:1ng                          We"? Name                   Lufifmme                                Check if this is:

       gighzgﬁfﬁﬁng)        Wm
       United States Bankruptcy Court for the:

       Case number
       (lfknown)
                                                 w        WWW
                                                                        District of
                                                                                           WNW
                                                                                      MVANIA                                  D

                                                                                                                                  W
                                                                                                                              Cl An amended ﬁling

                                                                                                                                  gigging:Emgﬁoﬁﬂbzgtgr
                                                                                                                                                               '         H
                                                                                                                                                                              Chapter 13




  Official Form 106.]
  Schedule J: Your Expenses                                                                                                                                                        12/15

  Be as complete and accurate as possible. If two married people are ﬁling together, both are equally responsible for supplying correct
  information. If more space ls needed, attach another sheet to this form. On the top of any additional pages, write your name and case number



m (if known). Answer every question.



 1.    Is   this    a
                           Describe Your Household

                        joint case?
       mNo.             Go to line 2.
               Yes. Does Debtor2 live in a separate household?


                           :Yes. Debtor 2 must ﬁle Ofﬁcial Form 106J-2, Expenses for Separate Household of Debtor 2.

 2‘     Do you have dependents?                   [DE No   >
                                                                                                           Dapendent’s relatlonship to              Dependent‘s          Does dependent live
        Do not list Debtor        1   and                  iYes. Fill out this information for             Demo” 0' Debtor 2                        399                  With you?
                                                  ‘   ‘
        Debtor 2.                                              each dependent ..........................
                                                                                             ’
       Do not state the dependents’                                                                         Children mother                         47
       names‘
                                                                                                            Daughter                                27


                                                                                                            Daughter                                24


                                                                                                            Daughter                                22


                                                                                                           Daughter                                 19


 3.    Do your expenses include                   (a: No
       expenses of people other than
       year?" andxgurdepentﬂem?

m                       Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy ﬁling date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is ﬁled. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses pald for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106l.)                                                                        Your expenses

  4.    The rental or home ownership expenses for your residence. Include ﬁrst mortgage paymems and                                                            1200
                                                                                                                                                         $
        any rent for the ground or Iot.                                                                                                       4.

         If not Included in line 4:
         42.        Real estate taxes                                                        -                                                4a         $
                                                                                                                                                               0
                                                                                                                                                              0
         4b,        Property, homeowners, or renter’s insurance                                                                               4b‘        $

         4c,        Home maintenance. repair, and upkeep expenses                                                                             4c.
                                                                                                                                                              50
                                                                                                                                                         $

                    Homeowner’s association or condominium dues                                                                                               0
         4d                                                                                                                                   4d,        58




Ofﬁcial Form 106J                                                               Schedule J: Your Expenses                                                                      page   1
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 Debtor         1
                         Randy                         Lucas                                       Case number   (rfknown)
                         First Name     Middke Name        Las‘ Name




                                                                                                                                    Your expenses


      ,   Additional mortgage payments for your residence, such as home equity loans
                                                                                                                                    $0

      .   Utilities:
          6a,       Electricity, heat, natural gas                                                                           6a.

          6b‘       Water, sewer, garbage coltection                                                                         6b,

          6c.       Telephone. cell phone, Internet, satellite, and cable services                                           6c,

          6d.       Other. Specify:                                                                                          6d

          Food and housekeeping supplies

      .   Childcare and children’s education costs
      .   Clothing, laundry, and dry cleaning
10.       Personal care products and services                                                                                10.

11.       Medical and dental expenses                                                                                        11_


12.       Transportation. include gas, maintenance, bus or train fare.                                                                  100
                                                                                                                                    $
          Do not include car payments.                                                                                       12,

13.       Entertainment, clubs, recreation, newspapers, magazines, and books                                                 13.

14.       Charitable contributions and religious donations                                                                   14,


15.       Insurance.
          Do not include insurance deducted from your pay or included in lines 4 or 20.

          153.      Life insurance                                                                                           15a,   $0
          1511      Health insurance                                                                                         15b    $300
          15c.      Vehicle insurance                                                                                        15c.

          15d.      Other insurance. Specify:                                                                                15d‘   $0

16‘       Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
          Specify:                                                                                                           16.


17‘       Installment or Iease payments:
          17a.      Car payments for Vehicle      1                                                                          17a.

          17b.      Car payments for Vehicle 2                                                                               17b,

          17c.      Other. Specify:                                                                                          17c.

          17d.      Other. Specify:                                                                                          17d‘


          Your payments of alimony, maintenance, and support that you did not report as deducted from
          your pay on line 5, Schedule I, Your Income (Official Form 106l).

          Other payments you make to support others who do not live with you.
          Specify:

20,       Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

          20a Mortgages on other property                                                                                    20a.

          2% Real estate taxes                                                                                               20b.

          20c. Property,        homeowner’s, or renter’s insurance                                                           ZOC,


          20d.      Maintenance, repair, and upkeep expenses                                                                 20d

          20a, Homeowner’s association or condominium dues                                                                   20a.




Ofﬁcial Form 106)                                                      Schedule J: Your Expenses                                                     page 2
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 Debtor      1        Randy                       Lucas                                       Case number   (Ifknown)
                     Fus‘ Name     Middle Name       Last Name




21.    Other. Specify:                                                                                                   21.   +$0

22.    Calculate your monthly expenses.

       22a; Add lines 4 through 21.                                                                                 22a‘       $
                                                                                                                                       3280

       22!). Copy tine 22 (monthly expenses for Debtor 2), if any, from Ofﬁcial Form 106J—2                         22b

       22c. Add tine 223 and 22b. The result is your monthly expenses.                                              220.




23.   Calculate your monthly net income.
                                                                                                                                   3   1922
      23a.       Copy line 12 (your combined monthly income) from Schedule   I.                                         23a.

      23b.       Copy your monthly expenses from line 229 above.                                                        23b,   _ $ 3280

      23c.       Subtract your monthly expenses from your monthly income.
                                                                                                                                   $    -1358
                 The result is your monthly net income                                                                  23c.




24. Do       you expect an increase or decrease in your expenses within the year after you ﬁle this form?

      For example, do you expect to ﬁnish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modiﬁcation to the terms of your mortgage?

      ﬁéNo.
      EYGS-            Explain here:




Ofﬁcial Form 106.]                                               Schedule J: Your Expenses                                                       page 3
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Fill in this information to identify your case:

Debtor   1        Randy                                                    Lucas
                    Flvst Name                Mddle Name                     Last Name

Debtor 2
(Spouse, If ﬁling) Firs‘ Name                 Middle Name                    Last Name


United States Bankruptcy Court for the:     EASTERN         Diskrict of   PENNSYLVANIA
Case number
(If known)
                                                                                                                                                            El Check ifthis   is an
                                                                                                                                                                amended ﬁling



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                                     12/15

  If two married people are ﬁling together, both are equally respdnsible for supplying correct information.

  You must file this form whenever you ﬁle bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtainlng money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




       Did you pay or agree to pay someone who is NOT an attorney to help you flll out bankruptcy forms?

       BIND
       D     Yes.     Name of person                                                -
                                                                                                     .   Attach Bankruptcy Petition Preparers Notice, Declaration, and
                                                                                                         Signature (Ofﬁcial Form 119)‘




       Under penalty of perjury, l dgclare that I have read the summary and schedules filed with this declaration and
       that they are true and corr t.



                                                                            X
         Signature of De
                                 01%                                            Signature of Debtor 2
                           I,



         Date       3            [1
                                       /7                                                MM/ DD I   YYYY




 Ofﬁcial Form 106Dec                                                Declaration About an Individual Debtor’s Schedules
